                                                      1

            UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF LOUISIANA
               CASE NO.   2:21-cv-00080

DONNA LOU and DAREN PARSA, on their own behalf and
on behalf of their deceased minor child, E.P.
                          Plaintiffs,


                    VERSUS


SHERIFF JOSEPH P. LOPINTO, III, CHAD PITFIELD, RYAN
VAUGHT, STEVEN MEHRTENS, SHANNON GUIDRY, NICK VEGA,
MANUEL ESTRADA, MYRON GAUDET, JOHN DOES 1-3,
VICTORY REAL ESTATE INVESTMENTS LA, LLC D/B/A
WESTGATE SHOPPING CENTER, ABC INSURANCE COMPANY,
and XYZ INSURANCE COMPANY,

                          Defendants.


          30(b)(6) DEPOSITION OF JEFFERSON PARISH
SHERIFF'S OFFICE, through its designated
representative, MICHAEL VOLTOLINA, JR., given in
the above-entitled cause, via Zoom, pursuant to the
following stipulation, before Sandra P. DiFebbo,
Certified Shorthand Reporter, in and for the State
of Louisiana, on the 1st day of August, 2022,
commencing at 9:00 AM.




          SOUTHERN COURT REPORTERS, INC.
                   (504)488-1112
                                                     2

1    APPEARANCES (Via Zoom):
2              LAW OFFICE OF WILLIAM MOST, L.L.C.
               BY: WILLIAM MOST,
3              ATTORNEY AT LAW
               201 St. Charles Avenue
4              Suite 114
               New Orleans, Louisiana 70170
5              -and-
               THE COCHRAN FIRM MID-SOUTH
6              BY: ANDREW CLARKE,
               ATTORNEY AT LAW
7              One Commerce Square
               40 South Main, Suite 1700
8              Memphis, Tennessee 38103
               REPRESENTING THE PLAINTIFFS
9
               MARTINY & ASSOCIATES
10             BY: FRANZ ZIBILICH,
               ATTORNEY AT LAW -and-
11             JEFFREY D. MARTINY,
               ATTORNEY AT LAW
12             131 Airline Drive
               Suite 201
13             Metairie, Louisiana 70001
               -and-
14             LINDSEY M. VALENTI, LEGAL ADVISOR
               1233 Westbank Expressway
15             Building B, Fifth Floor
               Harvey, Louisiana 70058
16             REPRESENTING JPSO DEFENDANTS
17             THOMPSON, COE, COUSINS & IRONS, LLP
               BY: CHRISTOPHER W. KAUL,
18             ATTORNEY AT LAW
               601 Poydras Street
19             Suite 1850
               New Orleans, Louisiana 70130
20             REPRESENTING VICTORY REAL ESTATE
               INVESTMENTS LA, LLC, AND WESTGATE
21             SHOPPING CENTER
22   Also Present: Tim Anclade
23   Reported By:
24             Sandra P. DiFebbo
               Certified Shorthand Reporter
25             State of Louisiana
26


                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                       3

 1   E X A M I N A T I O N             I N D E X
 2                                          Page
 3   BY MR. MOST:                            5
 4
 5      E X H I B I T                      I N D E X
 6                           Page
 7
 8   Exhibit 40                                  17
 9   Exhibit 41                                  21
10   Exhibit 42                                  28
11   Exhibit 43                                  34
12   Exhibit 44                                  48
13   Exhibit 45                                  52
14   Exhibit 46                                  52
15   Exhibit 47                                  52
16   Exhibit 48                                  65
17   Exhibit 49                                  71
18   Exhibit 50                                  74
19   Exhibit 51                                  91
20
21
22
23
24
25



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                            4

 1                   S T I P U L A T I O N
 2
 3                   It is stipulated and agreed by and
 4   between Counsel for the parties hereto that the
 5   30(b)(6) Deposition of JEFFERSON PARISH SHERIFF'S
 6   OFFICE, through its designated representative,
 7   MICHAEL VOLTOLINA, JR., via Zoom, is hereby being
 8   taken pursuant to the Federal Rules of Civil
 9   Procedure for all purposes in accordance with law;
10                 That the formalities of reading and
11   signing are specifically waived;
12                 That the formalities of sealing,
13   certification, and filing are hereby specifically
14   waived.
15                 That all objections, save those as to
16   the form of the question and responsiveness of the
17   answer are hereby reserved until such time as this
18   deposition or any part thereof is used or sought to
19   be used in evidence.
20                          * * * * *
21                 Sandra P. DiFebbo, Certified Shorthand
22   Reporter, in and for the State of Louisiana,
23   officiated in administering the oath to the witness
24   remotely.
25



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                            5

 1                 MICHAEL VOLTOLINA, JR., having
 2        been first duly sworn, was examined and
 3        testified on his oath as follows:
 4             MR. MOST:
 5                  One housekeeping matter before get
 6               started.     Can we stipulate that this
 7               deposition was properly noticed and the
 8               court reporter is duly qualified? Any
 9               objection, Franz?
10             MR. ZIBILICH:
11                  No.
12             MR. MOST:
13                  And hearing none from Chris, who is
14               muted, he can tell us later, if he
15               objects.
16             MR. KAUL:
17                  You didn't say Westgate but no
18               objection.
19             MR. MOST:
20                  Thank you.
21   EXAMINATION BY MR. MOST:
22        Q.   Good morning.     My name is William Most.
23   I'm an attorney for the plaintiffs in this matter.
24   Sergeant, could you give us your name and title for
25   the record, please?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                             6

 1        A.      Sergeant Michael Voltolina, Jr.
 2        Q.      Great.   I may call you sergeant or
 3   officer.     Is there anything you particularly like
 4   to be called?
 5        A.      Mike is fine.
 6        Q.      Sergeant, have you ever given a
 7   deposition before?
 8        A.      Yes.
 9        Q.      Approximately how many depositions have
10   you given?
11        A.      Two.
12        Q.      So you realize that you are under oath
13   here today?
14        A.      Yes.
15        Q.      You understand that your answers here
16   have the same force as if we are in a courtroom
17   with a judge and jury?
18        A.      Yes.
19        Q.      Sergeant, is there anything that will
20   prevent you today from giving your full attention
21   and truthful and complete answers?
22        A.      No.
23        Q.      Are there any medications, illnesses, or
24   anything else that might impair your ability to
25   give complete and truthful answers?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                7

 1        A.      No.
 2        Q.      And, you know, we're going to go with
 3   this deposition, but it doesn't have to be
 4   continuous, so if at any point you need to take a
 5   break, you know, use the restroom, get a glass of
 6   water, coffee, just let me or your counsel know,
 7   and we'll take a break.       Although I'll tell you now
 8   that during any break I will ask you what you
 9   looked at, who you talked to, and even
10   communications with counsel during breaks may not
11   be privileged, so I just give you that heads-up
12   right now.
13        A.      Okay.
14        Q.      One thing you are already doing well is
15   waiting for me to finish my question before
16   answering which helps the court reporter have a
17   clean transcript, and I will try, in exchange, to
18   do the same courtesy to you, trying to wait until
19   you are finished with your answer before asking the
20   next question.       All right?
21        A.      Yes, sir.
22        Q.      One thing I will ask is if you don't
23   understand a question I have or it's confusing,
24   will you tell me that you don't understand or that
25   it is confusing rather than just trying to answer?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                   8

 1   Will you agree to do that?
 2        A.     Yes.
 3        Q.     Thank you.        Do you know what case you are
 4   here for today, Sergeant?
 5        A.     All I know is Parsa.
 6        Q.     Okay.     Yeah.     You know it's about a minor
 7   who died?
 8               MR. ZIBILICH:
 9                       I am going to object to the form.
10               MR. MOST:
11                       Why don't you --
12               MR. ZIBILICH:
13                       That's what the case is about, but
14                  that's not what he is here for.
15   BY MR. MOST:
16        Q.     Do you know anything about what the case
17   is about besides the word "Parsa," Sergeant?
18        A.     Just that it was an autistic juvenile.
19        Q.     And that juvenile, I may refer to them as
20   EP, by their initials, because that makes it easier
21   if we later have to redact the transcript.          If I
22   refer to EP, will you know the juvenile I'm talking
23   about?
24        A.     That sounds good now.
25        Q.     And you are here to represent Sheriff



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                               9

 1   Lopinto in his official capacity, correct?
 2        A.    I believe so.
 3        Q.    And when I say that, I mean essentially
 4   the same thing as the Jefferson Parish Sheriff's
 5   Office.   Is that your understanding as well?
 6        A.    Yes.
 7        Q.    And you are here to represent the
 8   sheriff's office?
 9        A.    Yes.
10        Q.    And if I use the abbreviation JPSO, I
11   will be referring to the sheriff's office and
12   Sheriff Lopinto in his official capacity.      Will you
13   understand me if I use that abbreviation?
14        A.    Yes.
15        Q.    Great.    And so you understand that you
16   are here speaking for the sheriff's office,
17   speaking on its behalf, correct?
18        A.    In regards to training, yes.
19        Q.    Okay.    And you understand that you're
20   here to make available the knowledge of the
21   sheriff's office, agreed?
22        A.    Yes.
23        Q.    And so when I'm asking a question of you
24   today, I'm asking a question of JPSO.     Will you
25   understand that?



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                             10

 1         A.    Yes.
 2         Q.    And when you give an answer today, it's
 3   not the answer of you personally, it's the answer
 4   of the sheriff's office.      Do you understand that?
 5         A.    Yes.
 6         Q.    And because this is a little bit
 7   different than a normal deposition, where we are
 8   really asking questions of the entity, generally, I
 9   don't know may not be a sufficient answer, because
10   your side is required to put someone knowledgeable
11   up.   Do you understand that?
12               MR. ZIBILICH:
13                      I am going to object to the form.
14                  If his answer is I don't know, that's
15                  going to be his answer.   I'm sorry.
16                  You are not going to dictate to him
17                  that he can't say I don't know.
18   BY MR. MOST:
19         Q.    Do you need me to repeat the question,
20   Sergeant?
21         A.    No.
22         Q.    Sergeant, when did you begin preparing
23   for this deposition, roughly?
24         A.    Maybe a month ago.
25         Q.    And over how many days did you prepare



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                             11

 1   for this deposition over that month?
 2        A.   Maybe about five.
 3        Q.   Roughly, how much time did you spend over
 4   those five days preparing for this deposition?
 5        A.   About seven hours a day.
 6        Q.   What did you do?     I don't need to know
 7   the contents of any communications with lawyers,
 8   but what did you do to prepare for this deposition?
 9        A.   Just basically went over the things that
10   I teach on our department in regards to mental
11   illness and developmental disabilities.
12        Q.   So you spent about seven hours a day for
13   five days going over the training materials on
14   those topics?
15        A.   Correct.
16        Q.   What else?   Did you look at any other
17   documents other than training materials?
18        A.   I think the only thing that I looked at
19   was whatever y'all had sent in that packet, just
20   looking at the things that they had sent over.
21        Q.   And the packet.     What are you describing
22   there?
23        A.   It looked like it had warrants.     Inside
24   of there, it had training material from not even
25   our department, rough draft of training material



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              12

 1   that we never used, and then they had two or three
 2   PowerPoints from training that we use.
 3        Q.      Was that an electronic file you received
 4   yesterday?
 5        A.      I didn't receive it.     I just had it in
 6   hand here.
 7        Q.      Okay.     Did you get that yesterday or this
 8   morning?
 9        A.      The packet?
10        Q.      Uh-huh.
11        A.      I just looked at it this morning,
12   correct.
13        Q.      And so how many training documents did
14   you look at to prepare for this deposition?
15        A.      On a guess, maybe a dozen.
16        Q.      Were those PowerPoints or what kind of
17   documents were those?
18        A.      PowerPoints, looking at notes from other
19   organizations, looking at things from the Crisis
20   International.
21        Q.      Do you have those approximately dozen
22   documents with you today?
23        A.      No.
24        Q.      Aside from those dozen training
25   documents, did you look at any documents other than



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                             13

 1   the packet we talked about to prepare for today's
 2   deposition?
 3        A.   No.
 4        Q.   What else did you do to prepare for
 5   today's deposition other than look at that packet
 6   and, roughly, those dozen training materials?
 7        A.   Nothing.
 8        Q.   Did you talk to anyone other than lawyers
 9   to prepare for today's deposition?
10        A.   No.
11        Q.   Are any of those dozen documents really
12   long, like hundreds of pages long?
13        A.   I'd say for CIT International, probably.
14        Q.   And I'm not trying to trip you up.      I'm
15   just trying to figure out.   You spent about 35
16   hours preparing for this deposition.   So is looking
17   at about those dozen documents and anything else
18   that filled up that time?
19        A.   During that time? No.   That's why I took
20   an hour lunch.   That's why it wasn't eight hours.
21        Q.   Did you take any notes to prepare for
22   today's deposition?
23        A.   No.
24        Q.   So I'm going to pull up -- would you just
25   give us the nutshell version of your educational



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                 14

 1   and professional background and current role at
 2   JPSO?
 3           A.     You have to repeat one more time.
 4           Q.     Sure.   Could you just give me the brief
 5   version of your education and professional
 6   background?
 7           A.     So I went to Holy Cross here in
 8   Louisiana.       From there I went to Nicholls State and
 9   Southern New Hampshire University.         I went to New
10   Orleans Police Department's training academy.           I
11   left there in 2013.        Came to JPSO.   For education
12   for training wise, American Heart Association,
13   Department of Defense, Department of Health, set up
14   for Domestic Preparedness, Homeland Security, CIT
15   International, American Heart Association, TCCC,
16   TCC, Federal Law Enforcement Training Agency,
17   Regional Counterdrug Training Authority, Drug
18   Enforcement Agency, Alcohol, Tobacco, Firearms
19   Agency training, FBI's leadership, FBI'S
20   negotiations instructor training as well.          Let's
21   see.     I know I'm going to miss something.
22           Q.     That's okay.   I think that gives us a
23   sense.       We don't need to know every single thing.
24   What is your current job role at JPSO?
25           A.     Academy instructor.



                    SOUTHERN COURT REPORTERS, INC.
                             (504)488-1112
                                                            15

 1        Q.     And, Sergeant, have you ever been
 2   arrested?
 3        A.     No.
 4        Q.     That's a question I ask of everybody.
 5   Because we're doing this deposition via Zoom, we
 6   can't necessarily see everything that is going on
 7   in the room on your side, so who is in the room
 8   with you there?
 9        A.     You want them to introduce themselves or
10   you want to point at them?
11        Q.     Sure.     Let's just get the names of who is
12   in the room with you.
13        A.     All right.
14               MR. ZIBILICH:
15                       Franz Zibilich.
16               MR. ANCLADE:
17                       Tim Anclade.
18               MR. MARTINY:
19                       Jeff Martiny.
20               MS. VALENTI:
21                       Lindsey Valenti.
22   BY MR. MOST:
23        Q.     Sergeant, is there anyone in the room
24   with you besides those four people?
25        A.     No.     That's it.



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                                16

 1        Q.   And one thing we may not be able to
 2   monitor, since we're not in the room with you, is
 3   if anyone tries to communicate with you.        So if
 4   anyone tries to communicate with you, other than
 5   verbally through an objection, would you please let
 6   us know whether that is a text message, a passed
 7   note, or any other form of communication?          Would
 8   you tell us, please?
 9        A.   Yes.
10        Q.   I'm going to pull up a document on the
11   screen here.     Can you see it, Sergeant?
12        A.   Yes.
13        Q.   I'm going to designate this as Exhibit A.
14   Do you see that this is the notice about this
15   deposition, setting up this deposition?
16        A.   Yes.
17             MR. CLARKE:
18                     William, this is Exhibit A.       Are you
19                  going to numerically number these after
20                  the other exhibits or --
21             MR. MOST:
22                     Yeah.    I can continue with the
23                  numbering we used before.     So this will
24                  be A(42).    That way we've got a
25                  consecutive numbering system.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                17

 1               THE COURT REPORTER:
 2                       I thought the next one was 40. Am I
 3                  missing something?
 4               MR. CLARKE:
 5                       Yeah.
 6               MR. MOST:
 7                       Is that right?
 8               MR. CLARKE:
 9                       It would be 40.
10               MR. MOST:
11                       Okay.   Let's make this one 40, and
12                  we'll also call it A, to keep track of
13                  it with the packet we sent over.
14   BY MR. MOST:
15        Q.     Okay.     Do you see the topics here,
16   Sergeant?
17        A.     Yes.
18        Q.     And as we go through documents today, I
19   can zoom in, so if at any point you need me to zoom
20   in, please just ask.        Do you see this Topic A that
21   is described as ADA --
22        A.     There you go.      Right there.   You zoomed
23   in way too much.
24        Q.     Got it.     Do you see this Topic 3 that is
25   entitled, "ADA/RA Compliance?"



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                               18

 1        A.   Yes.
 2        Q.   I'll read it out.    It's, "A person with
 3   knowledge of JPSO's process, policies, and
 4   practices for ensuring ADA/RA compliance, including
 5   the identification and handling of persons with
 6   disabilities in crisis.    JPSO deputies' training on
 7   how to handle a person who has a mental illness or
 8   disability, including autism; any accommodations
 9   provided to EP; any modifications JPSO deputies
10   made to their procedures and protocols in handling
11   EP; any attempts that JPSO deputies took to control
12   EP through less intrusive means."    Do you see that
13   Topic 3 there, Sergeant?
14        A.   Yes.
15        Q.   And are you prepared to testify about
16   this topic?
17        A.   All but what the deputies did, because I
18   have no clue what they did.
19             MR. MOST:
20                    Franz, this is a question for you.
21                 Are we going to have a different
22                 witness for that part of it?
23             MR. ZIBILICH:
24                    No, because I don't believe that to
25                 be appropriate for a 30(b)(6).     That's



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                 19

 1     for a regular fact witness.     If you
 2     want to ask people facts about what
 3     happened out there, that's not
 4     corporate representative type
 5     deposition, in my mind.
 6   MR. MOST:
 7        Did you lodge an objection prior to
 8     today to this topic?
 9   MR. ZIBILICH:
10        Probably not.
11   MR. MOST:
12        Franz, are you aware that the
13     amendments to the Federal Rules of
14     Civil Procedure require a meet and
15     confer about 30(b)(6) topics in advance
16     of a deposition?
17   MR. ZIBILICH:
18        Of course I am.
19   MR. MOST:
20        Did you take any steps to meet and
21     confer with us prior to this deposition
22     this morning, Franz, about this topic?
23   MR. ZIBILICH:
24        Mr. Most, I'm going to do everything
25     in my power to get along today.     I'm



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                                 20

 1     not under oath.    I'm not going to drill
 2     you as to what you believe are
 3     appropriate topics pursuant to
 4     30(b)(6), nor am I going to allow you
 5     to drill me.   And we can be gentlemen,
 6     and you can go file whatever you want,
 7     but I do not believe those to be
 8     appropriate 30(b)(6) deposition topics,
 9     and that's that.    I'm not going to
10     answer any more questions other than
11     that.
12   MR. MOST:
13        So JPSO will not be providing a
14     witness who is knowledgeable about
15     anything from any accommodations
16     provided to EP and thereon?    Is that
17     correct, Franz?
18   MR. ZIBILICH:
19        As pertains a 30(b)(6) deposition,
20     that is correct.    I am not going to
21     disallow those questions as pertains
22     what happened factually, but as
23     pertains a corporate deposition, you
24     are correct.
25   MR. MOST:



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                                              21

 1                     Okay.    While we are on the record, I
 2                  do think we intend to file a Motion to
 3                  Compel.    Is there anything you'd like
 4                  to confer about prior to our Motion to
 5                  Compel, since we're here and are able
 6                  to confer about it?
 7             MR. ZIBILICH:
 8                     I think we can do it after the
 9                  deposition.
10             MR. MOST:
11                     We'll set up a time to confer.
12             MR. ZIBILICH:
13                     Thank you.
14   BY MR. MOST:
15        Q.   All right, Sergeant.       So to clarify,
16   Sergeant, you are prepared to testify about
17   everything within this paragraph up to and
18   including JPSO deputies' training on how to handle
19   a person who has a mental illness or disability,
20   including autism; is that correct?
21        A.   Correct.
22        Q.   I'm going to turn now to a document which
23   is N, as in Nancy, and we'll designate it 41.
24   Sergeant, do you see this document that is
25   entitled, "Joseph P. Lopinto, III, Individual



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              22

 1   Supplemental Responses?"
 2        A.   Yes.
 3        Q.   And we're going to look at this document,
 4   because it makes part of our conversation easier
 5   when it comes to the question of accommodations.
 6   Do you see that on Page 5 of this document there is
 7   a verification by Sheriff Lopinto affirming that
 8   the answers are true?
 9        A.   Yes.
10        Q.   Then I'm going to go up to Interrogatory
11   Number 18 on Page 4.     The question was, "Identify
12   all accommodations, if any, you contend you
13   provided to Eric Parsa to accommodate his
14   disability," and the answer is, "The factual
15   backdrop for the incident sued upon did not
16   implicate a need for an accommodation, therefore,
17   an accommodation was not provided."      Do you see
18   that, Sergeant?
19        A.   Yes.
20        Q.   Any reason to think that is wrong or not
21   the position of JPSO?
22             MR. ZIBILICH:
23                     Object to the form.   Object because
24               it's not appropriate pursuant to
25               30(b)(6).     You can answer it, if you



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                23

 1                  want.     By the way, that's not in my
 2                  packet of exhibits that was sent
 3                  yesterday afternoon.
 4                THE WITNESS:
 5                     Can you repeat that one?     I'm just
 6                  trying to make sure I understood it.
 7                MR. MOST:
 8                     Sure.     Franz, I'll note that all
 9                  that is necessary here is to say object
10                  to the form.     You do not need to
11                  instruct the witness that he can
12                  answer, if he wants.     That is not what
13                  we're here to do, but if you'd like to
14                  object, your objection is noted, so
15                  thank you.
16   BY MR. MOST:
17           Q.   Sergeant, my question was, seeing this
18   answer to Interrogatory Number 18, do you have any
19   reason to think it's wrong or not the position of
20   JPSO?
21                MR. ZIBILICH:
22                     Again, object to form.
23                THE WITNESS:
24                     I don't know the facts of the case,
25                  so I wouldn't be able to say yes or no



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                  24

 1                     to that.
 2   BY MR. MOST:
 3           Q.      So, Sergeant, the topic that you are here
 4   to talk about today is ADA/RA, was the acronym
 5   used.        Did you see that?
 6           A.      Yes.
 7           Q.      And ADA stands for the Americans with
 8   Disabilities Act, agreed?
 9           A.      Yes.
10           Q.      And the RA stands for Rehabilitation Act,
11   agreed?
12           A.      I thought that was reasonable
13   accommodations. Are you talking about -- because it
14   falls under ADA.         That's why I'm just trying to
15   make sure I understand what you're asking.
16           Q.      Yeah.   Fair enough.   Have you ever heard
17   of the Rehabilitation Act?
18           A.      I've heard of ADA with RA being
19   reasonable accommodations, not the one you are
20   speaking of.
21           Q.      So do you know -- have you ever heard of
22   the Rehabilitation Act in any context?
23           A.      Only when it came to substance abuse.    I
24   haven't heard about it in regards to someone with
25   developmental disabilities.



                     SOUTHERN COURT REPORTERS, INC.
                              (504)488-1112
                                                           25

 1        Q.    Jefferson Parish Sheriff's Office is an
 2   entity that's covered by the Americans with
 3   Disabilities Act, agreed?
 4        A.    Yes.
 5        Q.    Do you know whether it is also covered by
 6   the Rehabilitation Act?
 7        A.    I don't know.
 8        Q.    And at least the ADA covers a wide range
 9   of JPSO's activities, agreed?
10        A.    In reference to what?
11        Q.    Sure.   For example, it might apply to the
12   way the sheriff's office deals with its employees,
13   correct?
14        A.    Yes.
15        Q.    And it might apply to the way JPSO
16   deputies interact with persons with disabilities
17   out in the field, agreed?
18        A.    Yes.
19        Q.    So, for example, if JPSO is seizing and
20   arresting someone in a wheelchair, they have to
21   take that disability into account and make
22   accommodations as necessary, agreed?
23        A.    Depending upon the situation, yes.
24        Q.    But arresting someone in a wheelchair is
25   a scenario, an example scenario, in which the ADA



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                             26

 1   might require JPSO deputies to make accommodations,
 2   agreed?
 3        A.   It would depend on the situation.     It's
 4   not a black and white issue when it comes to that.
 5        Q.   Right.    Look, I agree with you.   I'm not
 6   saying any specific accommodations, but that's the
 7   kind of scenario which would implicate the need to
 8   think about accommodations and apply them, if
 9   reasonable, agreed?
10        A.   In a nonviolent situation, yes.
11        Q.   So the Americans with Disabilities Act
12   applies to JPSO in an arrest or seizure context in
13   some scenarios, agreed?
14        A.   With nonviolence compliance, yes.
15        Q.   And you are raising the issue of violence
16   or nonviolence.    So are you saying that if there is
17   a violent situation, the ADA does not apply?
18        A.   Within what the ADA has listed, yes.
19        Q.   Once a situation has turned from a
20   violent situation to a nonviolent situation, does
21   the ADA then apply to possibly require reasonable
22   accommodations once it has become nonviolent?
23        A.   Yes, as long as there is nonviolence and
24   compliance.
25        Q.   JPSO has more than 50 employees, correct?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                27

 1          A.   Yes.
 2          Q.   Does JPSO have an ADA coordinator?
 3          A.   I don't know.
 4          Q.   Do you know if there is any person at
 5   JPSO who is designated to deal with ADA issues?
 6          A.   No.
 7          Q.   Sorry.     You don't know or there isn't
 8   one?
 9          A.   I thought your question was do I know,
10   and my answer is no. I mean, did I mishear it?
11          Q.   No.    I think you heard me correctly.     I
12   just wanted to be clear.       So you don't know if
13   there is someone designated to deal with ADA issues
14   at JPSO, correct?
15          A.   Correct.
16          Q.   Do you know if JPSO has adopted and
17   published grievance procedures related to ADA
18   issues?
19          A.   Not to my knowledge.
20          Q.   And you train officers on how to deal
21   with ADA issues, correct?
22          A.   Correct.
23          Q.   So if there was a person at JPSO who is
24   specifically designated to deal with ADA issues,
25   you would know that because you would train



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                          28

 1   officers to contact them, correct?
 2        A.   In what circumstance?
 3        Q.   Yeah.   You are the ADA trainer, right?
 4        A.   Correct, when dealing with people in
 5   public.
 6        Q.   Is there another ADA trainer who deals
 7   with other scenarios?
 8        A.   Not that I know of.
 9        Q.   So if there was a specifically designated
10   person to deal with ADA issues, that would be
11   something you would train your officers on, agreed?
12        A.   I don't understand that.
13        Q.   Do you know whether the law requires JPSO
14   to have an ADA coordinator or ADA grievance
15   procedures?
16        A.   No.
17        Q.   I'm going to pull up what is Exhibit O in
18   the packet, and I'm going to mark it Exhibit 42.
19   Do you see, Sergeant, that this is the table of
20   contents for JPSO's Standard Operating Procedures?
21        A.   Yes.
22        Q.   So this is like JPSO's policy manual.
23   Would you agree with that?
24        A.   Yes.
25        Q.   I've looked through this Standard



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              29

 1   Operating Procedures, and I don't see any policies
 2   about the Americans with Disabilities Act
 3   compliance.       Do you know of any?
 4        A.     No.
 5        Q.     To your knowledge, JPSO has no standard
 6   operating procedures or other policies related to
 7   ADA compliance.       Would you agree with that?
 8        A.     Policies, no.
 9        Q.     What about procedures?
10        A.     Not to my knowledge.
11        Q.     I searched within these Standard
12   Operating Procedures for the words "disability,"
13   "disabilities," and "accommodation."       The only
14   context I could find anything about it was in the
15   context of protected health information for
16   employees, use of polygraphs, and how officers can
17   receive short-term disability benefits.       I didn't
18   find anything about accommodating disabilities of
19   persons that officers interact with in the field.
20   Do you know of any written policies or procedures
21   that I'm missing?
22        A.     In this document, no.
23        Q.     What about any other document?
24        A.     The only thing we have is what is in
25   training.



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                           30

 1        Q.   So in terms of what an officer has to
 2   guide them, if they're interacting with a person
 3   with a disability in the field, the only thing they
 4   have in terms of written materials is the documents
 5   they would have viewed in training, agreed?
 6        A.   Correct.
 7        Q.   No other written guidance, policies,
 8   procedures, or anything like that, agreed?
 9        A.   Correct.
10        Q.   And when officers -- so there is some
11   written materials during training related to
12   disabilities, correct?
13        A.   Yes.
14        Q.   How are those presented to trainees?
15        A.   Through PowerPoint and verbal.
16        Q.   And do officers get a copy of those
17   PowerPoints, like a printout or an electronic copy?
18        A.   No.
19        Q.   Do they have any way of taking those
20   training documents with them in any other way?
21        A.   Do they have a way of taking it?     Like
22   taking notes in a class?
23        Q.   Can they take the written materials from
24   the class home with them?
25        A.   No.    It's on the screen.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                 31

 1           Q.     If you don't know of any specific ADA
 2   coordinator at JPSO, who do you go to with
 3   questions about ADA compliance?
 4           A.     It depends on which portion of ADA.
 5           Q.     Let's talk about the portion of ADA that
 6   deals with officers dealing with persons in the
 7   field.       Who do you go to with questions about that?
 8           A.     I would go to -- oh, God, I can't think
 9   of that guy's name.        I'm sorry.   He's with the
10   state.
11           Q.     So not someone within JPSO, agreed?
12           A.     Yes.   I'm sorry.   It's going to be the
13   state attorney general.        I just can't think of his
14   name.
15           Q.     That's okay.   So if you have questions
16   about, as a trainer, or as an officer, about
17   dealing with persons with disabilities in the
18   field, there is no one you know to go to within the
19   Jefferson Parish Sheriff's Office?          You'd have to
20   go to someone outside the entity with those
21   questions, agreed?
22           A.     No.
23           Q.     What part did I get wrong?
24           A.     You're saying Americans with Disability.
25   It depends on which disability.         As in general with



                    SOUTHERN COURT REPORTERS, INC.
                             (504)488-1112
                                                              32

 1   Americans with Disability, the answer would be no,
 2   I don't have someone specific to go to.       Specific
 3   portions of it, yes.
 4        Q.      What specific portions of it would you
 5   have someone to go to with it?
 6        A.      So with mental illness, I'd be able to go
 7   to Doc Arey, and in reference to developmental
 8   disabilities, I would probably go to David Roddy so
 9   that I can speak with someone from Magnolia
10   Schools.
11        Q.      Does he work for JPSO?
12        A.      Yes.
13        Q.      So are you saying you would go to those
14   persons with questions about specific medical or
15   questions about the aspects of a particular
16   disability?     Is that what you're saying?
17        A.      I would go to them with any questions I
18   had about something I didn't understand in
19   reference to those.
20        Q.      Is there anyone within JPSO you could go
21   to, to ask questions about what the ADA requires
22   for a particular situation?
23        A.      Can you be more specific as to which
24   situation?
25        Q.      Sure.   So I understand if you've got



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                             33

 1   someone with a particular medical condition you
 2   could contact Dr. Arey, right?
 3           A.   No.
 4           Q.   No? What would you go to Dr. Arey with a
 5   question for?
 6           A.   Anything with mental illness.
 7           Q.   So if there is a person with a particular
 8   mental illness, you could go to Dr. Arey to ask him
 9   questions about the aspects of that mental illness,
10   agreed?
11           A.   Yes.
12           Q.   Is there anyone you could go to, to ask
13   questions about what would be reasonably required
14   as an accommodation for that mental illness? Anyone
15   else?
16           A.   Yes.
17           Q.   Who would that be?
18           A.   Him and MaryAnn Dankert.
19           Q.   Who is MaryAnn Dankert?
20           A.   She is over the mental health section of
21   the coroner's office.
22           Q.   Anybody besides Dr. Jim Arey within JPSO?
23           A.   No.
24           Q.   So, Sergeant, you referred to some
25   training materials that are used during training



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                 34

 1   with officers on how to do ADA compliance.       Is that
 2   correct?
 3        A.      Yes.
 4        Q.      I want to go through the ones that I've
 5   got and see if they're the ones you are talking
 6   about and see if I'm missing any.       I'm going to
 7   share the screen here.       This is one document which
 8   is P, as in Paul, which I'll designate as 43.          Do
 9   you see this PDF entitled, "Autism Awareness?"
10        A.      Yes.
11        Q.      Is this one of the training materials
12   that you're describing?
13        A.      No.
14        Q.      What is this?
15        A.      That's a rough draft from one that we're
16   creating for autism awareness.
17        Q.      So this document is not actually used in
18   training?
19        A.      Correct.
20        Q.      Is there a final draft of this
21   presentation that you use?
22        A.      Yes.
23        Q.      So this is a rough draft of another
24   document.     Is the final document also called Autism
25   Awareness?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                       35

 1   A.   Yes.
 2   Q.   Do you have access to it today?
 3   A.   Not here.
 4        MR. MOST:
 5               Franz, do you think it's possible to
 6          get a copy of that so we can use it
 7          during this deposition?
 8        MR. ZIBILICH:
 9               When you send me some discovery,
10          I'll be more than happy to.
11        MR. MOST:
12               This is responsive to discovery we
13          have already propounded.
14        MR. ZIBILICH:
15               Which question?
16        MR. CLARKE:
17               Same question you produced this half
18          done autism awareness deal.     Come on,
19          Franz.
20        MR. ZIBILICH:
21               I don't know what the question is.
22          If you want to read me the question,
23          I'll be more than happy to look at it.
24        MR. MOST:
25               Okay.   Stand by.



          SOUTHERN COURT REPORTERS, INC.
                   (504)488-1112
                                                 36

 1   MR. ZIBILICH:
 2        Believe me, I don't want to do this
 3     twice or thrice.
 4   MR. MOST:
 5        I think the easiest thing to do is
 6     to just get a copy of it.
 7   MR. ZIBILICH:
 8        That may or may not be possible.
 9     Let me hear the question.   There's
10     obviously a question out there that
11     y'all believe we didn't fully respond
12     to, and that's what I'm looking for.
13   MR. MOST:
14        All right.   I'm sharing the screen.
15     "Produce a copy of all training records
16     from all officers identified in
17     response to Interrogatory Number 2,
18     including, but not limited to, all
19     records from all law enforcement
20     training program, all records regarding
21     inservice training, street survival,
22     CIT recertifications," et cetera.
23   MR. ZIBILICH:
24        I don't see where what it is that
25     you are looking at is responsive to



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                                     37

 1     that.     I'm not trying to be picky.     I
 2     just don't see where that query makes
 3     this document responsive.
 4   MR. CLARKE:
 5           Why did you produce it before,
 6     Franz?     We didn't get this.   This was a
 7     half-baked autism CIT PowerPoint that
 8     you produced in discovery, and now
 9     you're saying we don't get the updated
10     one?
11   MR. MOST:
12           I'll point you, Franz, to Request
13     21.     "All policies and training
14     materials for deputies and
15     communications dispatchers regarding
16     notifying or calling for CIT regarding
17     incidents involving persons with
18     intellectual, mental health, or
19     developmental disabilities."
20           The second one, 22, is, "Any and all
21     policies and training materials
22     regarding interactions with persons
23     with intellectual, mental health, or
24     developmental disabilities."      A
25     PowerPoint that is used in training



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                                                 38

 1                  about autism awareness is very clearly
 2                  responsive to RFP-22, which is what I
 3                  think --
 4              MR. ZIBILICH:
 5                     Let me say this much to you.      Let's
 6                  read it real slow.    "Any and all
 7                  policies and training materials."
 8                  We're premature on this question,
 9                  because I don't know if this final
10                  draft has yet been used as a training
11                  material.
12              MR. MOST:
13                     Okay.    I'll ask the sergeant.
14              MR. ZIBILICH:
15                     I'm not being picky, but at the same
16                  time, if it's used, I'm going to go
17                  fetch it up.    If it hadn't been used
18                  yet, I don't think you are entitled to
19                  it yet.
20              MR. MOST:
21                     Okay.
22   BY MR. MOST:
23        Q.    Sergeant, you described the final draft
24   of the autism awareness training materials,
25   correct?



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                             39

 1        A.   From the one that you showed me?
 2        Q.   Yes.
 3        A.   Yes.
 4        Q.   Have you ever used the final draft for
 5   training officers?
 6        A.   Not yet.
 7             MR. CLARKE:
 8                    William, let's go off the record for
 9               a second.     Let me talk to you.
10             MR. MOST:
11                    Sure.
12                    {BRIEF RECESS}
13             MR. ZIBILICH:
14                    This is what I'm going to do for
15               you.     At some point in time Mr. Clarke
16               spent a day or two at the training
17               academy, and we let him view everything
18               under the sun that we do.     We let him
19               copy everything and anything that he
20               looked at that he wanted.     I can't
21               imagine that a whole lot has changed
22               between when Mr. Clarke was there.
23               It's only been a couple of months, but
24               I've got somebody right now taking a
25               look to see if there was anything else



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                             40

 1                  that was either not finished, not
 2                  available, not yet utilization for me
 3                  to attempt to go over it and see what I
 4                  can turn over.
 5             MR. MOST:
 6                     Can you have someone see if they can
 7                  provide us a copy during this
 8                  deposition of the final draft that the
 9                  sergeant is talking about?
10             MR. ZIBILICH:
11                     I can't imagine, because it's about
12                  12 miles from here, and I'm going to
13                  have to stop and read it, and I'm going
14                  to have to go over with somebody at the
15                  training academy, whether it's this
16                  gentleman or somebody else, to ask all
17                  the appropriate questions to see if
18                  it's in use, to see if it's still being
19                  amended, et cetera.
20             MR. MOST:
21                     Look, if the answer is no, that's
22                  the answer.
23                     {OFF-THE-RECORD DISCUSSION}
24   BY MR. MOST:
25        Q.   So we're talking about there is a final



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                41

 1   draft of an autism awareness PowerPoint that you
 2   have, Sergeant, correct?
 3          A.    Not yet.   It still needs approval.
 4          Q.    So you have a draft of the Autism
 5   Awareness PowerPoint that is subsequent to the one
 6   we just looked at but has not yet been approved,
 7   correct?
 8          A.    For the autism awareness singular class,
 9   yes.
10          Q.    And that, if approved, that is training
11   materials?
12          A.    It would be.
13          Q.    Whose approval is it waiting on?
14          A.    It depends on who is going to be there at
15   the time.     It will either be the academy director
16   or the chief.
17          Q.    I don't think I understand.     So what do
18   you mean who would be there at the time?
19          A.    That's what I was saying.     It depends on
20   if it is going to be the director of the academy
21   that is there or the chief over the academy.
22          Q.    That is there for what, for the training?
23          A.    No, for when it needs approval.
24          Q.    When does it need approval?
25          A.    When they tell me they need it for the



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                          42

 1   department.
 2        Q.   So let's back up a little bit.    This
 3   draft we looked at, when did you create that?
 4        A.   That would have probably been 2018 to go
 5   with the CIT class itself.
 6        Q.   So in 2018, you started working on some
 7   autism awareness materials, correct?
 8        A.   Correct.
 9        Q.   And then you've been working on it for
10   the last three to four years, and you now have a
11   more final draft of it?
12        A.   Correct.
13        Q.   And when did you get to the point where
14   the current draft is where it is?   When did you
15   stop working on it?
16        A.   I haven't stopped actually working on it.
17   I still -- there is so much changes in autism it's
18   hard to be final, to be honest.
19        Q.   But at this point, it's ready for higher
20   level approval?
21        A.   Without any notes, yes.
22        Q.   You mean you might submit it to someone
23   higher up, and they might provide notes, then it
24   has to be changed before it's approved?    Is that
25   what you mean?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                             43

 1           A.   No.   I confer with my peers.
 2           Q.   So you are going to confer with your
 3   peers to see if they have any notes on it?
 4           A.   Correct.
 5           Q.   Have you solicited input from your peers
 6   yet?
 7           A.   On the first portion of it, yes.
 8           Q.   When did you solicit input from your
 9   peers on it?
10           A.   To tie down an actual date, I don't
11   know.
12           Q.   But in the last week, the last month, the
13   last year?     Approximately when?
14           A.   Probably all of those. We talk on a
15   regular basis about it.
16           Q.   So starting approximately about a year
17   ago you started asking peers for input on your
18   draft?
19           A.   No.   2018 would have been when I was
20   starting to ask questions from my peers because of
21   the changes in autism and other.
22           Q.   So in 2018, you started drafting this
23   autism awareness training, and at that point you
24   started soliciting input and notes from your peers,
25   correct?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                        44

 1        A.   Correct.
 2        Q.   And then over the last four years, you
 3   have been working on this document, correct?
 4        A.   Yes, and it will never be a hundred
 5   percent complete, because it has to be evolved
 6   every year or every month depending on what happens
 7   in the world.
 8        Q.   Sure.    Things change.   The training
 9   changes but at some point this has to go for
10   approval by a supervisor so that it can actually be
11   used to train officers, correct?
12        A.   Correct, but it has to be constantly
13   updated. It can't be redacted from a physical file.
14        Q.   Sure.    So what are you waiting on to
15   submit it for approval to a supervisor?
16        A.   For them to say we need it on the
17   department.
18        Q.   So you've got this document sort of ready
19   at least to be reviewed by a supervisor, but no one
20   has asked you to submit it to them for approval; is
21   that correct?
22        A.   Correct.
23        Q.   Are your supervisors aware that this
24   document exists?
25        A.   Yes.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                            45

 1        Q.   When did you start making them aware that
 2   it existed or that you were working on it?
 3        A.   2018.
 4        Q.   So in 2018, you notified your supervisors
 5   that you were working on an autism awareness
 6   training, so they could ask you to submit it for
 7   approval so that it could be used for training
 8   officers, correct?
 9        A.   One more time.     I'm sorry.
10        Q.   Sorry.     So in 2018, you started working
11   on an autism awareness document, and you let your
12   supervisors know that you were working on it so
13   that they could ask you to approve it, if they
14   wanted to implement it for training, correct?
15        A.   Outside of the CIT program, yes.
16        Q.   But, otherwise, what I said is accurate?
17        A.   Yes.
18        Q.   But at no point in those four subsequent
19   years has any supervisor asked you to move it
20   forward to implementation and actual training,
21   agreed?
22        A.   Correct.
23        Q.   And what caused you to start on this
24   document in 2018 in the first place?
25        A.   Because of the need for it in law



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                 46

 1   enforcement.
 2        Q.   So there was -- you had an awareness at
 3   the time that law enforcement officers were
 4   interacting with persons with autism, and that
 5   created special needs and situations for officers
 6   to be trained on, correct?
 7        A.   Yes.
 8        Q.   Is this something that only you knew
 9   about or this was widely known by officers, as far
10   as you know, at the time?
11             MR. ZIBILICH:
12                        Object to the form.   You can answer
13                  it.
14             THE WITNESS:
15                        I was just going to ask you to
16                  repeat it.
17   BY MR. MOST:
18        Q.   Sure.
19        A.   In reference to what?        I'm sorry.
20        Q.   So how did you first learn about this
21   broad issue, to the best of your recollection?
22        A.   In reference to law enforcement?
23        Q.   Uh-huh.
24        A.   I believe it would have been the incident
25   that happened with the caretaker and the autistic



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                          47

 1   person where the caretaker was shot in the leg.
 2        Q.   Was that a Louisiana situation?
 3        A.   I believe it was in Tennessee.    I have to
 4   look it up again.
 5        Q.   That's fine.   So you, as an officer, were
 6   just sort of learning about stuff going on in the
 7   world and realized that there is a need for
 8   training of officers on how to deal with persons
 9   with autism, agreed?
10        A.   Within that context, yes.
11        Q.   When we talked about you notifying your
12   supervisors about this existence of this training
13   document that you were working on, this draft
14   training document, what supervisors are we talking
15   about that you notified about the existence of it?
16        A.   At the time, it would have been Doc Arey,
17   Scott Wildy, and Sean Lusk.
18        Q.   Any other supervisors since then that you
19   told about or talked about this draft training
20   document with?
21        A.   No.
22        Q.   So this document, you've been updating it
23   over four years, improving it, adding to it,
24   working with it, waiting for someone to say let's
25   get this approved so it can be used for training



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                            48

 1   with officers, agreed?
 2        A.   Correct.
 3        Q.   And as far as you know, this document,
 4   any draft of the autism awareness document has
 5   never been used to train any JPSO officers, to your
 6   knowledge, agreed?
 7        A.   No. The one that we use is one that
 8   myself and Chantrel Hunt from the coroner's office
 9   do for CIT training.
10        Q.   Do you know the title of that one?
11        A.   I think it's Deescalation with Autism.
12        Q.   I think my question may have been
13   confusing before.    Just to clarify, no officer has
14   received training -- no officer at JPSO has
15   received training based on the autism awareness
16   document that you're working on, agreed?
17        A.   Correct.
18        Q.   The document you described there is
19   Deescalation with Autism?    Is that the title of it?
20        A.   I believe so.
21        Q.   I'm going to pull up a document here that
22   is ZA, and we'll mark it as 44.
23             MR. ZIBILICH:
24                  Where is this ZA? What does that
25               mean?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              49

 1               MR. MOST:
 2                      Franz, I sent you via Dropbox a set
 3                  of exhibits yesterday.
 4               MR. ZIBILICH:
 5                      I got it.   I got it.
 6   BY MR. MOST:
 7        Q.     Sergeant, do you see that this is a
 8   PowerPoint entitled, "Deescalation with Suicidal
 9   Patient?"
10        A.     Yes.
11        Q.     Is this the document you are talking
12   about?
13        A.     No.    That's Deescalation with Suicidal
14   Patients.
15               MR. CLARKE:
16                      We don't have it.
17               MR. MOST:
18                      Yeah, that's right.
19               THE WITNESS:
20                      Actually, the title of that one for
21                  the newest version of that one is
22                  Suicidal Consumers.
23   BY MR. MOST:
24        Q.     So what I just showed you is a draft, not
25   the one that is actually used?



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                           50

 1        A.   No.   This is one that was used.   I'm just
 2   saying it's been updated.
 3             MR. ZIBILICH:
 4                   Without getting too picky, I am
 5               going to object, because I don't think
 6               this is part of the 30(b)(6) notice,
 7               but I'm going to let him answer it.
 8             MR. CLARKE:
 9                   Franz, this is what you produced on
10               CIT, dude.
11             MR. ZIBILICH:
12                   I understand that, but I'm reading
13               the 30(b)(6).
14             MR. CLARKE:
15                   We can only use the documents that
16               you produced, Franz.   He is talking
17               about other PowerPoints that you
18               haven't produced.
19             MR. ZIBILICH:
20                   Why don't you just let me object and
21               be done with it?
22             MR. CLARKE:
23                   Because this whole deposition -- the
24               witness is not ready, and you haven't
25               produced the documents, dude.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                   51

 1               MR. MOST:
 2                        Franz, can we get a copy of the
 3                  Deescalation with Autism document that
 4                  he is describing?
 5               MR. ZIBILICH:
 6                        That's the one that we are searching
 7                  for.        I told you I've got to read that
 8                  first.
 9               MR. MOST:
10                        You are not willing to produce it
11                  today so we can use it during this
12                  deposition?
13               MR. ZIBILICH:
14                        No.
15               MR. MOST:
16                        Okay.     That's all right.   We'll move
17                  on.
18               MR. ZIBILICH:
19                        Thank you.
20   BY MR. MOST:
21        Q.     So, Sergeant, this PowerPoint,
22   Deescalation with Suicidal Patients, you said this
23   and a subsequent version of it is a training
24   document.    This is used during the CIT training; is
25   that correct?



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                          52

 1        A.   Yes.
 2        Q.   That's 44.    The next one, which is ZB,
 3   which I'll mark as 45, do you see this PowerPoint,
 4   CIT Crisis Intervention Training?
 5        A.   Yes.
 6        Q.   Is this a document that is used in the
 7   CIT training program?
 8        A.   Without seeing the other slides, it looks
 9   like the first one, yes.
10        Q.   At any point I can scroll through these
11   so you can see them.
12        A.   Okay.
13        Q.   Having scrolled through it, does this
14   look like one of the documents used in the CIT
15   training program?
16        A.   Yes.
17        Q.   ZC, which we'll mark as 46, is Louisiana
18   Mental Health Law and Patrol.    Do you see this one?
19        A.   Yeah.
20        Q.   Is this a PowerPoint that is used in the
21   CIT training program?
22        A.   Yes.
23        Q.   Then ZD, which I'll mark as 47, Substance
24   Abuse with Mental Illness.    Do you see this one?
25        A.   Yes.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                           53

 1        Q.    Is this used in the JPSO CIT training?
 2        A.    Yes.
 3        Q.    What other documents are there that are
 4   used in the CIT training program except these ones
 5   that we've looked at?
 6        A.    They would be ones from specialists in
 7   their fields that come out and speak during the CIT
 8   program.
 9        Q.    And do they provide PowerPoints or
10   written materials?
11        A.    They bring it with them, yes.
12        Q.    And does JPSO get a copy of their written
13   materials or PowerPoints?
14        A.    No.    That stays with them.
15        Q.    So in terms of what JPSO has in terms of
16   its training for CIT, it is these four PowerPoints;
17   Substance Abuse with Mental Illness, Louisiana
18   Mental Health Law and Patrol, Crisis Intervention
19   Training, and Deescalation with Suicidal Patients.
20   Just those four plus anything a specialist brings,
21   agreed?
22        A.    Correct.
23        Q.    No other written materials or slides
24   presented other than these four documents and
25   anything a specialist might bring with them,



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                           54

 1   correct?
 2        A.     Is that the end?   Repeat it again,
 3   because it sounded open-ended.
 4        Q.     So my goal here is I'm just trying to
 5   understand the total set of documents that are used
 6   for training, for CIT training, for JPSO officers.
 7   And so my understanding, based on what you have
 8   told me, is that these four documents we just
 9   looked at, plus any written materials an outside of
10   JPSO person might bring into the classroom and then
11   take with them when they leave but nothing else,
12   agreed?
13        A.     Correct.
14        Q.     And then there is this other training
15   material.    You said Deescalation with Autism.
16   That's not used during CIT?
17        A.     No.   That is the one that is used with
18   CIT is what I said, and that's with the coroner's
19   office, so that would fall under the specialist.
20        Q.     Do you have a copy of Deescalation with
21   Autism?
22        A.     Not with me.
23        Q.     Right, but do you have one on your
24   computer or in your office?
25        A.     No, not on my computer in my office.



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                             55

 1        Q.    Does JPSO anywhere have a copy of
 2   Deescalation with Autism?
 3        A.    No.     It falls under what I was talking
 4   about with the specialist having it.
 5        Q.    So the Deescalation with Autism
 6   PowerPoint presentation is something the coroner
 7   brings to JPSO, does the training and leaves with
 8   them, and JPSO never gets a copy of it?      Is that
 9   correct?
10        A.    Correct.
11        Q.    Okay.     So the Deescalation with Autism
12   presentation, is that the only autism specific
13   training that JPSO officers receive?
14        A.    No.
15        Q.    What other autism specific training do
16   they receive other than the Deescalation with
17   Autism presentation?
18        A.    They go to outside training when
19   Pensacola came through.      They go through training
20   when Autism Now network comes through.      It all
21   depends on where or who comes through with the
22   training with that.
23        Q.    Those are periodic trainings that come
24   through JPSO periodically for officers to sort of
25   update their knowledge and skills; is that right?



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                             56

 1          A.   Correct.     We put it out for the whole
 2   department, and they request to go to the class.
 3          Q.   But in terms of mandatory training for
 4   JPSO officers, the only autism specific training
 5   they receive is the Deescalation with Autism
 6   training from the coroner's office, correct?
 7          A.   If they are assigned to the CIT class,
 8   yes.
 9          Q.   So the only autism specific training that
10   officers receive as part of the CIT class is
11   something that JPSO doesn't even have a copy of,
12   agreed?
13          A.   I'd have to check with my superiors to
14   see if they have a copy of it, but, to my
15   knowledge, you asked if I had a copy.        I said I
16   don't have a copy.
17          Q.   What is spheres?
18          A.   Superiors?
19          Q.   Oh, superiors.     Okay.   To your knowledge,
20   no one at JPSO has a copy of Deescalation with
21   Autism, agreed?
22          A.   Correct.
23          Q.   And the Deescalation with Autism, the
24   coroner comes in and does that training with CIT
25   officers, right?



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                                57

 1           A.      They come in with people from the
 2   coroner's office and with me in the room as well.
 3           Q.      How long has that Deescalation with
 4   Autism been part of the CIT training?
 5           A.      2018.
 6           Q.      Why did it start in 2018?
 7           A.      Because that's when I took over the CIT
 8   training.
 9           Q.      So in terms of autism specific CIT
10   training, to sum it up, the coroner, the coroner's
11   personnel, come in and provide some training about
12   autism but do not provide JPSO, to your knowledge,
13   with a copy of that, and JPSO has a training
14   written up, but it has not been approved or put
15   into use.        Is that a fair summary?
16           A.      To my knowledge of what has been given to
17   JPSO.        I don't know who has a copy of it at JPSO,
18   if they have been provided with one.
19           Q.      And the second part was JPSO has a
20   training module on autism prepared, written, but it
21   has not been approved or put into use in actual
22   training, agreed?
23           A.      Well, just the autism awareness class as
24   an individual, correct.
25           Q.      There is a training module that's been



                     SOUTHERN COURT REPORTERS, INC.
                              (504)488-1112
                                                            58

 1   written up but not approved or put into use,
 2   agreed?
 3        A.   Correct.
 4        Q.   Can you describe to me the content of the
 5   Deescalation with Autism training that JPSO CIT
 6   officers received?
 7        A.   They have already received or the one I'm
 8   working on?
 9        Q.   Sorry.     What?
10        A.   That's what I was asking.
11        Q.   I'm sorry.     Could you describe for me the
12   content of the coroner's Deescalation with Autism
13   training that the officers receive?     What is
14   covered in that training?
15        A.   So it goes over common signs and symptoms
16   that you would see with someone with autism.      It
17   teaches you that you can't really look at a person
18   and tell that they have autism.     It talks to you
19   about the same kind of things you teach with
20   deescalation and active listening, and it gives you
21   best practices on how to approach and the
22   environment that you're in.
23        Q.   And this training began being provided to
24   CIT officers in 2018?
25        A.   For the ones that come to the class, yes.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                            59

 1        Q.     Do you know when in 2018 it first started
 2   being included in the CIT training?
 3        A.     It would have been late 2018.
 4        Q.     If you look at someone's training
 5   records, are you able to see if they got that
 6   specific coroner's Deescalation with Autism
 7   training?
 8        A.     It would go by the date that they were
 9   given it, yes.
10        Q.     Would you be able to figure out what was
11   the first date that the coroner's Deescalation with
12   Autism was provided to officers?
13        A.     I'm sure I can look at when the first CIT
14   class was once I got to the training academy and
15   made sure that was the first one that was used.
16        Q.     Does the coroner's training cover
17   meltdowns of people with autism?
18        A.     Does it cover meltdowns?
19        Q.     Uh-huh.
20        A.     In what sense?
21        Q.     Do you know what a meltdown is, the word
22   "meltdown" in the context of a person with autism
23   or other developmental disability?
24        A.     For meltdown, I haven't heard that used
25   with someone with autism.    I've heard of crisis and



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                            60

 1   violent outbursts but not that.
 2        Q.    Does the coroner's training cover crisis
 3   or violent outbursts for persons with autism?
 4        A.    Yes.
 5        Q.    And since late 2018 was the first time
 6   this coroner's Deescalation with Autism training
 7   was provided, and we haven't identified any other
 8   training related specifically to autism, am I
 9   correct in understanding that late 2018 would have
10   been the first time JPSO officers received training
11   specific to persons with autism?    Is that correct?
12        A.    To my knowledge.   That's all I have from
13   when I started at the academy.
14        Q.    Yeah.   I understand, but at least today
15   you are speaking for Jefferson Parish Sheriff's
16   Office.   Can you say whether late 2018 was the
17   first time that officers received training
18   specifically regarding autism?
19        A.    I can't say.
20        Q.    Would you be able to figure out whether
21   any prior training specific to autism had been
22   provided to JPSO officers prior to late 2018?
23        A.    I'd have to ask my supervisor that was
24   there before me.
25        Q.    But that is something you could figure



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                            61

 1   out the answer to, right?
 2        A.     That they have it, yes. But there was
 3   training provided to JPSO deputies prior to me
 4   being there for autism.
 5        Q.     There was.   Okay.
 6        A.     And that was those outside agencies that
 7   I talked about that come through with Pensacola and
 8   other organizations that come through and talk
 9   about it.
10        Q.     So prior to late 2018, you don't know
11   whether there was any training in the CIT training
12   regarding autism, but there may have been periodic
13   trainings that officers could voluntarily
14   participate in that might have addressed autism?
15   Is that what you're saying?
16        A.     So prior to me being there for CIT
17   training, there was a portion on developmental
18   disabilities.     Now, if it spoke specifically to
19   autism, I don't know.
20        Q.     That would have been a voluntary periodic
21   training that officers could choose or choose not
22   to participate in, correct?
23        A.     No.
24        Q.     No, it was a mandatory training?
25        A.     On what I was just talking about?



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                             62

 1        Q.   Uh-huh.
 2        A.   It would have been a mandatory training
 3   if it was the CIT class.
 4        Q.   Okay.     So prior to the coroner's
 5   Deescalation with Autism training, which began in
 6   late 2018, you're saying prior to that, the CIT
 7   program did have content about dealing with persons
 8   with developmental disabilities?     Is that what
 9   you're saying?
10        A.   Yes.
11        Q.   Did it address autism specifically?
12        A.   That's why I said I don't know if it had
13   that specific --
14        Q.   Okay.     And you're saying there also might
15   have been periodic voluntary trainings that
16   officers could choose or choose not to participate
17   in that might have addressed autism?     Is that what
18   you are also saying?
19        A.   For the outside agencies and
20   organizations that came in, yes.
21        Q.   Going back to the content of Deescalation
22   with Autism from the coroner's office, does that
23   training deal specifically with restraint of
24   persons with autism?
25        A.   No.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              63

 1          Q.   Does it cover how to evaluate whether
 2   someone experiencing issues surrounding autism is
 3   capable of having criminal intent?       Does it cover
 4   that topic?
 5          A.   Does it cover someone with autism having
 6   criminal intent?
 7          Q.   Uh-huh.
 8          A.   No.
 9          Q.   Does it cover anything about physical
10   movements of persons with autism possibly being
11   involuntary?       Does it cover that?
12          A.   Yes.
13          Q.   Does it cover specific accommodations
14   that officers should consider in dealing with
15   persons with autism?
16          A.   In nonviolent and noncriminal matters,
17   yes.
18          Q.   So what kind of accommodations does the
19   training describe for those contexts?
20          A.   With nonviolent encounters, it gives you
21   a general idea of what to and what not to do with
22   someone that is in crisis with autism.
23          Q.   What are some of those to do items?
24          A.   To do is turn off your overhead lighting,
25   shut down the most amount of noise possible, cover



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                               64

 1   shiny objects, if possible.      Don't overcrowd.    Be
 2   very specific in your answers.      I mean in your
 3   questions.     Allow for time for them to respond.
 4   Repeat, if necessary, and try to find a caretaker.
 5        Q.      What are some of the things not to do?
 6        A.      Use jargon or slang.   Don't attempt to
 7   put physical hands on the person, if they're
 8   nonviolent, and if they're in crisis, in a
 9   situation where there is no other public danger.
10   Don't take away an object that they have fixated on
11   unless it's dangerous or could be potentially
12   dangerous to someone else.
13        Q.      So you are saying these are potential
14   accommodations in the context -- in a nonviolent
15   context, right?
16        A.      Correct.
17        Q.      So if there is an active, unrestrained
18   person who is violent, you're saying JPSO officers
19   are not instructed to apply these accommodations,
20   agreed?
21        A.      They are instructed to use the training
22   that they have to overcome violence and resistance.
23        Q.      Sure.   And then once the violent person
24   is restrained, then these accommodations might come
25   into play, agreed?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                65

 1           A.   If they're noncombative, yes.
 2           Q.   So once someone is restrained and non-
 3   combative, JPSO officers are trained to start
 4   applying these accommodations where reasonable,
 5   agreed?
 6           A.   Yes.
 7           Q.   Your training uses the phrase, "An
 8   agitated chaotic event."        Are you familiar with
 9   that?
10           A.   It says agitated chaotic event?
11           Q.   I think so.     Let's double-check.    This is
12   Exhibit R, which we'll mark as 48.        I believe this
13   was provided to us.        Is this -- do you recognize
14   this document here entitled, "Agitated Chaotic
15   Event?"
16           A.   I don't teach that.
17                MR. ZIBILICH:
18                       Listen to his question.   His
19                  question is do you recognize it.
20                THE WITNESS:
21                       No.   I don't recognize this one.
22   BY MR. MOST:
23           Q.   I'll represent to you that this is
24   something that was provided to us by JPSO, but I
25   understand you are not particularly familiar with



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                66

 1   it.   Do you see that this document identifies
 2   agitated chaotic events and includes autism as one
 3   potential form of agitated chaotic event?         Do you
 4   see that?
 5         A.     It has it listed, yes.
 6         Q.     Is that what officers -- I mean, I
 7   understand you are not familiar with this document,
 8   but is part of the training for JPSO officers about
 9   autism that it can sometimes, you know, be a person
10   who is agitated?      It can be a complicated
11   situation.     It can be a little chaotic.      That
12   fairly describes sometimes what officers may see
13   when they address someone with autism; is that
14   right?
15         A.     We give them the specifics of things that
16   they would possibly encounter, but you can't tie
17   down everything with autism.      Even the CDC can't
18   tie down everything with autism.
19         Q.     Sure.   There is a range in which -- a
20   range of different ways that the issue presents
21   itself, agreed?
22         A.     In which context?
23         Q.     Well, I understand you to be saying that
24   autism doesn't always look the same.      It can
25   present itself in many different ways, so officers



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                             67

 1   need to be aware there is different ways it could
 2   look, different ways it could manifest itself, and
 3   so officers need to be prepared for a range of
 4   situations.     That's what I understand you to be
 5   saying.     Is that correct?
 6        A.      Yes.    We give them a general of things
 7   that would happen but not everything that could
 8   possibly happen.
 9        Q.      Sure.    So going down to Page 6 of this
10   exhibit, which is entitled, "Theory to Training,"
11   do you see where it says, "Restrain.       Do not
12   hog-tie.     Do not allow person to remain prone for
13   an unreasonable amount of time.       Place on side.
14   Sit upright, supine, stand."       Do you see that
15   section?
16        A.      Yes, I see it.
17        Q.      And do you see that this document, which
18   I understand you're not familiar with, is at least
19   characterizing that as recommendations for how to
20   deal with a person experiencing an agitated chaotic
21   event like autism?       Is that your interpretation?
22        A.      Repeat just that last portion of the
23   question.
24        Q.      Sure.    The question is, do you understand
25   that this document is suggesting these proven



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                            68

 1   practices as suggestions for how to handle someone
 2   who is experiencing an agitated chaotic event like
 3   autism?
 4        A.   I don't see it as specific to autism on
 5   here. It says something about chaotic event.       To me
 6   that would be separate from autism.
 7        Q.   This recommendation of placing on side,
 8   sitting upright, is that incorporated into any of
 9   the CIT training for how to deal with a person with
10   autism?
11             MR. ZIBILICH:
12                     Object to the form.
13             THE WITNESS:
14                     So that would actually be put into
15                  our use of force.
16   BY MR. MOST:
17        Q.   So that is a general recommendation for
18   any person who is restrained, agreed?
19             MR. ZIBILICH:
20                     Object to the form.
21             THE WITNESS:
22                     No, because if the person is
23                  actively resisting, combative, it
24                  doesn't go towards that.
25   BY MR. MOST:



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                               69

 1        Q.   So that's a general recommendation for
 2   any person who has been restrained and is not in
 3   that moment actively combative, agreed?
 4             MR. ZIBILICH:
 5                     Object to the form.
 6   BY MR. MOST:
 7        Q.   Sir, was your answer agreed, Sergeant?
 8        A.   Hold on.     I lost you.
 9        Q.   Sorry. I'll just note that the same
10   objection has been made.       I'll reask the question.
11        A.   I got you back.
12        Q.   So the recommendation of placing someone
13   on their side or sitting them upright, that's a
14   general recommendation for any person in JPSO
15   custody who is not, in that moment, actively
16   combative, agreed?
17             MR. ZIBILICH:
18                     Object to the form.
19             THE WITNESS:
20                     It would depend on the situation, so
21                  I don't know.
22   BY MR. MOST:
23        Q.   Okay.     Sergeant, are you familiar with
24   the International Association of Chiefs of Police?
25   Is that an organization you are familiar with?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                70

 1           A.   Yes.
 2           Q.   That's an organization, a group, that
 3   provides training materials and recommendations and
 4   best practices to police departments.         Is that your
 5   understanding?
 6           A.   Yes.
 7           Q.   And why are you familiar with it?      Does
 8   JPSO use some IACP materials in any of its
 9   training?
10           A.   So the first question was am I aware of
11   what?
12           Q.   Sure.     So the International Association
13   of Chiefs of Police, which I'll abbreviate IACP,
14   you are familiar with that group, right?
15           A.   Yes.
16           Q.   And why are you familiar with that group?
17   Do they intersect with your job as a trainer at
18   all?
19                MR. ZIBILICH:
20                        Object to the form.   It was two
21                  questions.
22                THE WITNESS:
23                        Yes.   That's what I was going to
24                  ask.     Which portion you want me to
25                  answer first?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                             71

 1   BY MR. MOST:
 2          Q.    Sure.    Why do you know about the IACP?
 3          A.    Having gone to outside training, they
 4   mention it with regards to federal consent decrees
 5   on organizations.
 6          Q.    Have you ever looked at IACP training
 7   materials or best practices?
 8          A.    No.
 9          Q.    Are you aware that they do provide or at
10   least offer training materials and best practices?
11          A.    During consent decrees, from my
12   knowledge.
13          Q.    Does JPSO use any IACP materials in any
14   of its trainings, as far as you're aware?
15          A.    I don't know.
16          Q.    So you're not aware of any IACP materials
17   used by JPSO, agreed?
18          A.    Correct.
19          Q.    I'm pulling up Exhibit T, which I'll
20   label as 49.       I may have to zoom in, but do you see
21   that this is a document --
22          A.    You could leave it where it was at.
23          Q.    I just wanted to show you the seal at the
24   top.    You see it is an IACP document?
25          A.    Correct.



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                          72

 1        Q.   Do you see that this is a Model Policy
 2   dated August 2017 for Interactions with Individuals
 3   with Intellectual and Developmental Disabilities?
 4        A.   Yes.    The Model Policy.
 5        Q.   Yes.    Have you looked at this document in
 6   developing any of JPSO's trainings or policies?
 7        A.   No. I'm looking at it right there for
 8   your procedures that you have on it, and that's
 9   what I talk about.    We talk about autism awareness,
10   though.
11        Q.   So this is -- some elements of this are
12   analogous or similar to what is in the autism
13   awareness training that you've developed, correct?
14        A.   One through six.
15        Q.   These are techniques that can be used by
16   officers in dealing with persons with autism in the
17   field, correct?
18        A.   Which part?
19        Q.   Well, these one through six you
20   identified.
21        A.   Yes.    You can use that.
22        Q.   So these could be potential
23   accommodations for a person with an autism
24   disability if they're interacting with an officer
25   in the field, agreed?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              73

 1        A.     It depends on the situation.
 2        Q.     Right.    Which accommodations might be
 3   reasonable or necessary would depend on the
 4   situation, but these are among the potential
 5   accommodations that could be used, depending on the
 6   situation, for a person with an autism disability,
 7   agreed?
 8        A.     Yes.
 9        Q.     And the reason why it's important to
10   train -- one reason it is important to train
11   officers in that is because the ADA requires
12   officers to provide reasonable accommodations when
13   dealing with persons in the field, in some
14   scenarios, agreed?
15        A.     What is the question?
16        Q.     Yeah.    The question is do you agree that
17   the ADA requires officers to provide reasonable
18   accommodations to persons with disabilities, in
19   some scenarios, when interacting with them in the
20   field.    Would you agree with that?
21        A.     I agree that the ADA says we should
22   provide reasonable accommodations for people that
23   are nonviolent, yes.
24        Q.     More than should.    They are required to,
25   agreed?



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                              74

 1        A.   Yes.
 2        Q.   That's what you train officers, that they
 3   are required to do so?    Is that correct?
 4        A.   In nonviolent encounters, yes.
 5        Q.   I'm going to pull up Exhibit Y, which I'm
 6   going to designate as 50.    Do you see that this an
 7   IACP training key, Training Key Number 678?
 8        A.   So that's that same symbol on the left
 9   you're asking.
10        Q.   Yeah.   At the bottom.     Do you see at the
11   bottom it says, "This is published by the
12   International Association of Chiefs of Police?"
13        A.   Yes.
14        Q.   Do you see that this is -- this Training
15   Key Number 678 entitled, "Autism:      Managing Police
16   Field Contacts," you don't have any reason to doubt
17   this is an IACP training key, agreed?
18        A.   From what you showed me, no.
19        Q.   Go to Page 4 of it.      Do you see this
20   section that is entitled, "Restraint?"
21        A.   Yes.
22        Q.   Do you see that there is four bullet
23   points under Restraint?
24        A.   Yes.
25        Q.   And that the second bullet point says,



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              75

 1   "Be aware that people with autism may have under-
 2   developed trunk muscles and may not be able to
 3   support their airway.      After takedown, the
 4   individual should be turned on his or her side and
 5   be transferred into an upright position as soon as
 6   possible to allow normal breathing to occur."
 7           A.   Which bullet point were you looking at?
 8   I'm sorry.
 9           Q.   Yeah.   That's all right.   The second
10   bullet point under restraint on Page 4 of this
11   exhibit.     Do you see that the first sentence of
12   that second bullet point is, "Be aware that people
13   with autism may have underdeveloped trunk muscles
14   and may not be able to support their airway?"
15           A.   I agree that's what it says.
16           Q.   Is there any reason that JPSO has to
17   disagree with that statement?
18           A.   Yes.
19           Q.   What basis do you have to -- does JPSO
20   have to disagree with that statement?
21           A.   It's not specific to a situation.    This
22   appears to be a perfect uniform world, how it's
23   saying it.     If the person is violent, you can't do
24   that.
25           Q.   Well, the first sentence is just a



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                 76

 1   statement.        "Be aware that people with autism may
 2   have underdeveloped trunk muscles and may not be
 3   able to support their airway."         So let's break it
 4   down.
 5           A.      That part I can agree with, the one
 6   sentence you read.
 7           Q.      Okay.   Is that incorporated into JPSO's
 8   training at all?
 9           A.      That is talked about with autism, yes.
10   That one sentence.
11           Q.      Okay.   And that's in the autism training
12   that the coroner provides?
13           A.      Yes.
14           Q.      So any officer who went to CIT training
15   from late 2018 through the present would be trained
16   in the fact that people with autism may have under-
17   developed trunk muscles and may not be able to
18   support their airway, agreed?
19           A.      Correct.
20           Q.      Do you know whether -- well, let me start
21   over.        You don't know whether that fact would have
22   been incorporated before the coroner's autism
23   training, agreed?
24           A.      Correct.
25           Q.      So the second sentence of this second



                     SOUTHERN COURT REPORTERS, INC.
                              (504)488-1112
                                                                77

 1   bullet point on Page 4 says, "After takedown, the
 2   individual should be turned on his or her side and
 3   be transferred into an upright position as soon as
 4   possible to allow normal breathing to occur."         Do
 5   you see that sentence?
 6        A.   Yes, I see it.
 7        Q.   Does JPSO have a basis to disagree with
 8   this sentence?
 9        A.   Yes.    It's too vague.
10        Q.   So officers are not trained in the
11   contents of this sentence in their -- or something
12   similar in their autism training and CIT, agreed?
13        A.   It depends on the situation that that
14   point is talking about.
15        Q.   Okay.     Well, let's break it down.   So
16   once a person has been restrained and is not in
17   that moment combative or violent, is that when they
18   should be transferred to their side or into an
19   upright position?
20        A.   Yes.
21        Q.   So with that caveat, is that incorporated
22   into the training of officers for dealing with
23   persons with autism?
24        A.   That is what is trained when we teach use
25   of force and compliance.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                               78

 1          Q.    And how long has that been part of the
 2   general JPSO use of force and compliance training?
 3          A.    To my knowledge, for me, it would be
 4   since 2013, since I got there, but as far as what
 5   happened prior to me being there, I couldn't tell
 6   you.
 7          Q.    So at least since 2013 that has been a
 8   standard part of every JPSO officer's training on
 9   use of force and compliance, agreed?
10          A.    To my knowledge, yes.
11          Q.    And that is a training that every officer
12   receives that is part of JPSO, not just CIT
13   officers, agreed?
14          A.    For use of force, correct.
15          Q.    Going back to document Y50, Page 4, this
16   third bullet point under restraint, you see that it
17   says, "Monitor the person's condition frequently to
18   prevent further trauma or injury.      Up to 40 percent
19   of this population may have some sort of seizure
20   disorder."     Do you see that part?
21          A.    Yes.
22          Q.    Let's take it sentence by sentence.    The
23   monitoring a person's condition upon restraint, is
24   that part of JPSO's training for CIT training?
25          A.    That is part of CIT training and the use



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                 79

 1   of force training as well.
 2           Q.   So the recommendation to monitor a
 3   person's condition frequently once they've been
 4   restrained, that is part of the training that every
 5   JPSO officer receives, agreed?
 6           A.   Yes.
 7           Q.   And by monitoring the condition, we're
 8   not talking about their haircut, we are talking
 9   about things like whether they're still breathing,
10   correct?
11           A.   Yes.    That's part of it.
12           Q.   The second sentence of this is that up to
13   40 percent of this population by which, I take it
14   to mean, the autistic population, may have some
15   sort of form of seizure disorder.         Do you see that
16   part?
17           A.   Yes.
18           Q.   Is that consistent with your
19   understanding?
20           A.   No.    I believe it went up.    This is
21   probably an old document.       I believe that number
22   has fluctuated down as far as 30 percent up to 55
23   percent.
24           Q.   So it's your understanding that a large
25   portion of persons with autism, maybe 30, maybe



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                          80

 1   somewhere between 30 and 50 percent, may have some
 2   form of seizure disorder, correct?
 3        A.   Yes.
 4        Q.   And is that described in the CIT training
 5   that JPSO officers receive?
 6        A.   With regards to seizure on people with
 7   autism, no, it's not mentioned.
 8        Q.   So it is something that you personally
 9   know, but it's not incorporated into the training
10   of JPSO officers, agreed?
11        A.   Yes.
12        Q.   The fact that that population may have
13   such a high prevalence of seizure disorder, that is
14   a reason to be extra careful with monitoring that
15   person's breathing upon restraint, agreed?
16        A.   I wouldn't make it as specific as that.
17   It doesn't matter what the condition is.     We're
18   going to monitor them.
19        Q.   So JPSO officers are always supposed to
20   monitor a restrained person's breathing.     So it
21   doesn't matter if they might have a seizure
22   disorder or not, it's still mandatory that officers
23   monitor breathing, agreed?
24        A.   That's the practice.
25        Q.   And that's the training, correct?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                   81

 1        A.      Yes.
 2        Q.      And the purpose of that training is to
 3   ensure that someone who is restrained does not stop
 4   breathing and die, correct?
 5        A.      Correct.
 6        Q.      And how are JPSO officers trained to
 7   monitor breathing?        If there is a group of
 8   officers, Is one officer supposed to be assigned to
 9   monitor breathing?
10        A.      In what situation?
11        Q.      Let's say you've got a group of officers.
12   There is six or eight officers standing around a
13   restrained person.        How are they supposed to
14   monitor the person's breathing?
15                MR. ZIBILICH:
16                        Object to the form.   You can answer
17                  it.
18                THE WITNESS:
19                        I'm trying to figure out which.     It
20                  depends on the situation.      It's not
21                  specific.
22   BY MR. MOST:
23        Q.      Sure.     Look, pretend I have no idea about
24   any of this.        Is there -- how do you monitor
25   breathing?     Is there a device they use to monitor



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                      82

 1   breathing?        Do you get close to the person's face
 2   to check?        Are you supposed to put your hand on
 3   them?        Like how do you monitor -- how is a JPSO
 4   officer supposed to monitor breathing?
 5                   MR. ZIBILICH:
 6                           Again, I object to the form.
 7                   THE WITNESS:
 8                           Only thing I think you could use
 9                     would probably be American Heart, which
10                     is chest rise and fall.
11   BY MR. MOST:
12           Q.      Okay.     So are you talking about a visual
13   assessment of chest rising and falling?
14           A.      That's what I'm saying.     It just depends
15   on the situation.           You can't --
16           Q.      Well, officer, how would you monitor
17   someone's breathing if they were restrained?              What
18   would you do?
19           A.      What would I do?
20           Q.      Yeah.
21           A.      Okay.     So which way are they facing?
22           Q.      They're prone, face down.
23           A.      Face down.     You can feel the back of
24   their chest expand and contracting.
25           Q.      So that assessing someone who is prone,



                     SOUTHERN COURT REPORTERS, INC.
                              (504)488-1112
                                                               83

 1   monitoring their breathing requires a hand on their
 2   back to see if they're moving; is that correct?
 3           A.   You can visually look at the back rising
 4   and falling.
 5           Q.   So either a hand on the back or visually
 6   watching; is that correct?
 7           A.   Yes.
 8           Q.   What else is incorporated into the
 9   requirement to monitor a restrained person's
10   breathing?     Is someone supposed to -- are there
11   periodic checks, you know, check every ten seconds
12   or --
13           A.   It's not specific.     Nothing specific to
14   that.
15           Q.   Okay.     Are officers trained with the hand
16   on the back technique?
17           A.   American Heart Association, yes.
18           Q.   When you say American Heart Association,
19   is that someone else who comes in and trains or is
20   that -- why are you saying those words?
21           A.   No.     That's through the -- either if they
22   take the BLS, basic life support, or they take the
23   heart saver course in reference to CPR.
24           Q.   And do all officers take that training or
25   just some?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                            84

 1         A.    Yes, every two years.
 2         Q.    Every officer?
 3         A.    Every gun-carrying member for JPSO.
 4         Q.    So the only specific technique that
 5   officers are trained in, in monitoring breathing of
 6   a prone person, is hand on the back, correct?
 7         A.    No.
 8         Q.    What is the other?
 9         A.    Watching the chest rise and fall or back
10   rise and fall.
11         Q.    So officers are specifically trained to
12   visually assess; is that right?
13         A.    Yes.
14         Q.    Is that incorporated into any written
15   training?
16         A.    That's what I was talking about, the
17   American Heart Association.
18         Q.    So the American Heart Association
19   training should describe, in writing, the methods
20   for monitoring breathing that officers are trained
21   on?
22         A.    Yes.
23         Q.    So if we ask for the American Heart
24   Association training, JPSO would be able to provide
25   it to us? That's descriptive enough?



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                             85

 1           A.   I believe American Heart Association
 2   would provide it to you, because it's copyrighted.
 3   I guess that would be a request through them.
 4           Q.   Does JPSO have a copy of it?
 5           A.   The American Heart Association has a copy
 6   of it.
 7           Q.   No, I understand, but does JPSO also have
 8   a copy?
 9           A.   All we have is what is taught in the
10   class itself, and that's through American Heart
11   Association.     The agreement that you have as an
12   instructor for American Heart Association is that
13   we don't disseminate the material outside of the
14   class.
15           Q.   Yeah.   Look, I understand.    I'm sure your
16   lawyers will make sure that JPSO is not violating
17   copyright or licensing.      I just want to know does
18   JPSO have a copy of these written materials,
19   setting aside whether they're allowed to share
20   them?
21           A.   Do we have a copy to use for training?
22   Yes.
23           Q.   Okay.   And that training document
24   provides the entirety of the specific methods by
25   which JPSO officers are trained to monitor



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                          86

 1   breathing, correct?
 2        A.   Yes.
 3        Q.   You mentioned earlier recommendations
 4   like turning off lights and sirens for a person
 5   with autism, correct?
 6        A.   Yes.
 7        Q.   That's a form of sensory scene
 8   management.   Have you heard that phrase?
 9        A.   It's a form of deescalation for us.     Part
10   of controlling the environment that you can.
11        Q.   Because lights, sirens, and other sensory
12   inputs may be particularly triggering for a person
13   with autism, agreed?
14        A.   Yes.   Bright flashing lights would be a
15   trigger in autism.
16        Q.   And same with people crowding around a
17   person with autism, agreed?
18        A.   Some people.
19        Q.   So once a person with autism has been
20   restrained and is in that moment no longer
21   combative, possible accommodations that JPSO
22   officers could provide to that person would be
23   creating a space around that person and managing
24   the sensory inputs, agreed?
25        A.   It depends on the situation.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              87

 1          Q.    Right, but those are potential
 2   accommodations that could be provided that would be
 3   within the scope of potential accommodations for a
 4   person with autism who has been restrained and in
 5   that moment is no longer combative, agreed?
 6          A.    Dependent upon the situation, yes.
 7          Q.    Okay.     Depending on the situation, you
 8   agree with my statement, right?
 9          A.    Depending on -- yes.     Dependent on the
10   situation.
11          Q.    Okay.     Does the CIT training that JPSO
12   officers receive incorporate anything about the
13   RIPP Hobble device?
14          A.    No.
15          Q.    Does the CIT training that JPSO officers
16   receive address specific methods of restraint at
17   all?
18          A.    No.
19          Q.    And we talked about when you are -- there
20   is the directive for officers to monitor a
21   restrained person.        We talked about monitoring
22   breathing.     Are there any other physical attributes
23   that is incorporated within monitoring? Like I
24   don't know.        Like pulse or anything else?
25          A.    If they become limp, that would be a sign



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                              88

 1   that you would want to look for.      If they go from
 2   being extremely combative to, like I said, limp or
 3   complying quickly, that would be something we would
 4   monitor.   Profuse sweating would be another one.
 5   Shaking would be another one.
 6        Q.    Any other physical attributes?
 7        A.    Not that I can think of at this time.
 8        Q.    Is pulse something that is incorporated
 9   in monitoring?
10        A.    If they go limp, you would have to.
11   You'd have to assess whether they are breathing and
12   have a pulse.      That falls back into the American
13   Heart Association with CPR.
14        Q.    So if a person goes limp, then an officer
15   on the scene should check them for a pulse?
16        A.    Yes.
17        Q.    And are officers trained to do a neck
18   pulse or a wrist pulse?
19        A.    Both.     That would be a distal pulse, not
20   a wrist pulse.
21        Q.    I'm not sophisticated enough to know the
22   difference.     What is a distal pulse?
23        A.    A distal pulse is going to be at the
24   extremities.
25        Q.    And how is that distinct from a wrist



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                           89

 1   pulse?
 2        A.    Pedal pulse would be around the radius of
 3   the arms, inside the brachial plexus, down at the
 4   top of the ankle, instep of the foot.     Different
 5   locations. That's all being if there is no EMS on
 6   the scene at the time.
 7        Q.    So if EMS is on the scene at the time,
 8   are officers relieved of their requirement of
 9   monitoring?
10        A.    Because that's the whole purpose of
11   medical.   We are not a medical team.
12        Q.    So once EMS is on the scene and hands on
13   the restrained person, that's when officers can
14   stop monitoring?
15              MR. ZIBILICH:
16                     Object to the form.
17              THE WITNESS:
18                     That would be dependent on the
19                  situation.
20   BY MR. MOST:
21        Q.    I understand, but I'm just trying to
22   understand.     You're saying officers have to monitor
23   -- generally have to monitor a restrained person,
24   right?
25        A.    I was going specific to your pulse



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                                90

 1   question.    If medical is on the scene, it depends
 2   on the situation whether we relinquish to them or
 3   stay monitoring.
 4        Q.     But at least until EMS is directly
 5   treating that person, officers should continue with
 6   their monitoring applications, agreed?
 7        A.     Depending on the situation, yes.
 8        Q.     What situation would officers not have to
 9   continue monitoring until EMS took over with that
10   particular person?
11        A.     Active resistance again.
12        Q.     Any other situations?
13        A.     I'm sure we can probably what if a bunch
14   of them.
15                 MR. ZIBILICH:
16                    Let me ask you a question.       Are we
17                 still pretty much on target this
18                 morning so I can let this next officer
19                 know if we're going to be early or
20                 late?
21               MR. MOST:
22                    Let's see.     It's 11:00 now.    I would
23                 be surprised if we went all the way to
24                 1:30.     I think we will probably -- I
25                 strongly suspect we will wrap up with



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                                91

 1                  the sergeant here before 1:30, but it's
 2                  fine.   We can have a break and then
 3                  reconvene at 1:30, or we could just
 4                  role on into the next one.   I don't
 5                  have a strong preference.
 6             MR. ZIBILICH:
 7                     Just checking.
 8             MR. MOST:
 9                     Sergeant, do you or anyone else in
10                  y'all's room or the court reporter,
11                  anybody need a break at this time?
12             MR. ZIBILICH:
13                     I'm good.
14   BY MR. MOST:
15        Q.   We'll just keep going.      I'm going to pull
16   up a document.     Do you see this document dated July
17   7, 2008, entitled, "The Autism Tsunami?"
18        A.   Yes.
19        Q.   This is Exhibit U. I'll designate it 51.
20   Have you ever seen this document before?
21        A.   No.
22        Q.   Do you see that it looks to be an article
23   from Corrections 1?
24        A.   I mean, I see it up at the top, yeah.        I
25   can see that.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              92

 1        Q.     So going down to Page 8, Item Number 27.
 2   Do you see that this is describing -- persons with
 3   autism is the third quote. "Chest muscles may be
 4   weak and have difficulty supporting even their own
 5   weight in some positions."       Do you see that
 6   sentence?
 7        A.     Yes.
 8        Q.     And that's similar to what we talked
 9   about before, that CIT training incorporates that
10   -- something similar to that statement, agreed?
11        A.     Yes, but we also put it into the context
12   that this is not everyone with autism.       This is
13   such a -- just like with everything in autism, it
14   is very vague.       This is not specific to one
15   individual with autism.
16        Q.     Right.
17        A.     Classification of autism out of the three
18   that they have.
19        Q.     Right.     So it's not the case that every
20   person with autism may have weak chest muscles, but
21   it turns up with people with autism enough that
22   it's something to be on the lookout for, agreed?
23        A.     Maybe in 2008.     There has been a lot of
24   changes in the autism spectrum.
25        Q.     Any reason to think that this sentence is



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                             93

 1   wrong now, given your current understanding?
 2        A.      Pending looking into the newest position
 3   that they have on it, I couldn't say.     This was not
 4   talked about recently.
 5        Q.      But it is at least in the training for
 6   JPSO CIT training that persons with autism,
 7   something to look out for, be aware of, is that
 8   they may have weak chest muscles and difficulty
 9   supporting even their own weight in some positions,
10   agreed?
11        A.      We do speak about it, but it's general
12   for the general population, not just for autism.
13        Q.      The last two sentences of this Item 27
14   says, "Every cop knows about positional asphyxia.
15   Consider all your subjects with developmental
16   disabilities to be at risk."     Do you see those
17   sentences?
18        A.      I see those two, yes.
19        Q.      Any reason to disagree with either of
20   those sentences?
21        A.      No.
22        Q.      And the recommendation to consider all
23   subjects with developmental disabilities to be at
24   risk of positional asphyxia, is that incorporated
25   into the JPSO CIT training?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                           94

 1        A.   Not the CIT training.     It's in general
 2   population that we talk about it, so that also
 3   encompasses developmental disabilities, because
 4   everyone can be at risk.
 5        Q.   So JPSO training requires officers to
 6   consider all subjects to be at risk of positional
 7   asphyxia but doesn't specifically call out that as
 8   an issue for persons with developmental
 9   disabilities; is that correct?
10        A.   Correct, because they would be part of
11   the general population. I'm not familiar with this
12   organization, so I don't know where they're getting
13   most of this information.
14        Q.   Yeah.     Look, I understand you have not
15   read this before.     I'm just trying to compare it to
16   what you understand in your training.
17             MR. ZIBILICH:
18                     Just so the record is clear, let the
19               record reflect that this was dropped
20               into a Dropbox Sunday afternoon.     It
21               appears to be somewhat in the
22               neighborhood of a hundred plus pages,
23               so, no, he did not have an opportunity
24               to read this.
25             MR. MOST:



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                            95

 1                     Okay.
 2             MR. CLARKE:
 3                     Did he read the notice to take
 4                  deposition and know that we were asking
 5                  him about EP?
 6             MR. ZIBILICH:
 7                     I can't hear you, sir.
 8             MR. MOST:
 9                     Let's just -- we will move on.
10                  Objection noted.
11   BY MR. MOST:
12        Q.   All right.      So a person who has under-
13   developed trunk muscles is particularly at risk of
14   positional asphyxia, agreed?
15        A.   Yes, they would be.
16        Q.   And to the extent that their under-
17   developed trunk muscles are a manifestation of
18   their disability, a potential accommodation could
19   be ensuring that they are rolled into the recovery
20   position, agreed?
21             MR. ZIBILICH:
22                     Object to the form.
23             THE WITNESS:
24                     I didn't understand it.
25   BY MR. MOST:



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                          96

 1        Q.   Sure.   So we established someone with
 2   underdeveloped trunk muscles is at particular risk
 3   of positional asphyxia.   Could underdeveloped trunk
 4   muscles be a manifestation of a disability?
 5        A.   I don't know.
 6        Q.   If it was, a reasonable accommodation for
 7   that person could be rolling them into the recovery
 8   position when they are restrained, agreed?
 9        A.   I don't know on that one, because I'm not
10   diagnosing them on the scene without someone
11   telling me.
12        Q.   But if someone is known to have autism,
13   specifically known to have autism, and persons with
14   autism may have underdeveloped trunk muscles, a
15   potential accommodation, once things have become
16   nonviolent, in that scenario, could be to roll that
17   person into the recovery position, agreed?
18        A.   It depends on the situation.
19        Q.   Okay.   But that is at least a potential
20   accommodation in some situations like the one I
21   described, agreed?
22        A.   The recovery position could be
23   potentially what someone would do, yes.
24        Q.   Potentially something JPSO would do, as
25   an accommodation in some scenarios, depending on



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                                97

 1   the circumstances, agreed?
 2        A.   Yes, depending on the circumstances.
 3        Q.   I want to talk about other potential
 4   accommodations for a person with autism.        I under-
 5   stand every accommodation depends on the
 6   circumstances, right?     Agreed?
 7        A.   Yes.
 8        Q.   So a potential accommodation for a person
 9   with autism, depending on the circumstances, could
10   be setting up a perimeter with police tape to
11   create a large, safe area, agreed?
12             MR. ZIBILICH:
13                     Object to the form.
14             THE WITNESS:
15                     I'm not following that one.
16   BY MR. MOST:
17        Q.   Sure.     So we talked about a potential
18   accommodation for a person with autism under some
19   circumstances could be giving them space, right?
20        A.   Yes.
21        Q.   And one way to do that, a potential way
22   of implementing that accommodation, could be to
23   create a perimeter. Have officers create a
24   perimeter so that there could be a safe area that
25   doesn't crowd the person with autism, agreed?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                           98

 1        A.   I don't know on that one.
 2        Q.   Okay.    Could providing a restrained
 3   person with autism food or water be an
 4   accommodation under some circumstances?
 5        A.   Would that be an accommodation?
 6        Q.   Could it be?
 7        A.   Yeah, for anybody.
 8        Q.   If there was a person knowledgeable about
 9   the person with autism's limitations on scene,
10   could interviewing that knowledgeable person be an
11   accommodation for the person with disability?
12        A.   It depends on the situation as well.
13        Q.   Right.    But depending on the situation,
14   if there was a knowledgeable person on scene,
15   interviewing them about the person with autism's
16   limitations could be an accommodation under some
17   circumstances, agreed?
18        A.   If there is a caretaker or a person that
19   is knowledgeable, yes, we could potentially
20   interview them.
21        Q.   If there is a person with autism, could
22   officers, as an accommodation, consult with a
23   medical expert, call a trainer, perhaps you, or
24   perhaps another CIT person?    Could that be a
25   potential accommodation, depending on the



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                             99

 1   circumstances?
 2        A.     Yes.
 3        Q.     We talked about the CIT training.   How
 4   many hours is the CIT training total?
 5        A.     For the recruits, 48 hours.   For veteran
 6   officers, 40.
 7        Q.     Forty for veteran officers?
 8        A.     Correct.
 9        Q.     For both new recruits and veteran
10   officers, this is an optional thing that they can
11   opt into?    Is that right?
12        A.     No.
13        Q.     It's mandatory?
14        A.     For the recruits.
15        Q.     It's mandatory for recruits and optional
16   for veteran officers?
17        A.     Correct.   If they walk in the class and
18   say they don't want to attend, we can't force them.
19        Q.     Sure.   When did the CIT start being part
20   of the mandatory education for new recruits?
21        A.     2018.
22        Q.     Was CIT training provided optionally
23   before 2018?
24        A.     I believe so, yes.
25        Q.     But it first became mandatory for new



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                           100

 1   recruits in 2018 and has been optional for veteran
 2   officers thereafter, agreed?
 3        A.     Yes, unless they are told to do so by
 4   their rank.
 5        Q.     Sorry.   What do you mean?
 6        A.     So if the veteran officers are ordered to
 7   do so by their rank, they have to attend.       At that
 8   point, it's not voluntary.
 9        Q.     Do you know of any officers who have been
10   ordered to participate in CIT training?
11        A.     Yes.
12        Q.     And then what scenario is an officer
13   ordered to participate?     Is it in response to a
14   particular event or what?
15        A.     Because their rank told them to do so.
16   We don't question it.     We just train them.
17        Q.     Is it a form of discipline or is it just
18   a particular supervisory officer who cares a lot
19   about it?
20        A.     Like I said, I wouldn't know, because I
21   don't ask those questions.     I just train them.
22        Q.     So of the 48 hours for new recruits and
23   40 hours for veteran officers, how much of that
24   time is spent dealing with persons with autism?
25        A.     Two hours.



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                         101

 1        Q.   And that two hours, is that taken up by
 2   the coroner's Deescalation with Autism training?
 3        A.   Myself and the coroner's office, yes.
 4        Q.   So that's a training you do in
 5   collaboration with the coroner's office, and it
 6   takes two hours?
 7        A.   For that portion, yes.
 8        Q.   For the autism portion?
 9        A.   Yes.
10        Q.   And when you say you do it together with
11   the coroner's office, does that mean both you and
12   someone from the coroner's office are standing up
13   giving the training?
14        A.   It will be three of us.
15        Q.   Who are the three people?
16        A.   Chantrel Hunt.   I can't remember Ashley's
17   last name, and then myself.
18        Q.   Are both Chantrel and Ashley from the
19   coroner's office?
20        A.   Yes.
21        Q.   So you participate in providing this
22   training, but you don't have a copy of the actual
23   slides?
24        A.   For which?
25        Q.   Look, I think we covered this, but it



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                           102

 1   just surprises me a little bit that you actually
 2   participate in giving this training but you don't
 3   have a copy of the slides or written materials for
 4   that training.    You don't ever get a copy of that?
 5        A.   When they're in the class, it's on the
 6   board, but they're allowed to change it with things
 7   that change within society, diagnoses, and current
 8   things that are going on.
 9        Q.   Has the coroner's office ever e-mailed
10   you in advance and said, hey, here is the newest
11   version of the PowerPoint we're going to use,
12   anything like that?
13        A.   No.    We meet two weeks in advance on
14   everything before we do a class.
15        Q.   And you meet with them and do they show
16   you the newest version of the slides at that time?
17        A.   If there is an update, yes, and we talk
18   about it, see if it's within best practices.
19        Q.   But they only show it to you on a
20   computer or a screen?    They don't ever e-mail you
21   or give you a copy?
22        A.   They bring it with a laptop.
23        Q.   Does this two-hour training incorporate
24   any videos?
25        A.   Yes.



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              103

 1        Q.      Does it incorporate any simulated
 2   scenarios?
 3        A.      Not for that two hours.
 4        Q.      What about adult teaching techniques?
 5   Are you familiar with that phrase?
 6        A.      I'm sorry.
 7        Q.      Adult teaching techniques.
 8        A.      You've got to be more specific.
 9        Q.      Yeah.   Does it involve any participatory
10   aspects for the learners?      Like do they get
11   involved in hypothetical scenarios and have to act
12   out what to do?
13        A.      Not during that two-hour block.      That
14   comes later on in the training when we go over the
15   training in general for the entire 40 hours that
16   was given.
17        Q.      Is there any -- do the learners take a
18   test or any other sort of evaluation regarding this
19   training?
20        A.      During scenario training, yes.
21        Q.      So they don't take any sort of evaluation
22   at the end of this two-hour autism block but
23   evaluation is incorporated into scenarios later on?
24        A.      Yes.
25        Q.      And do you use the same scenarios with



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                               104

 1   each training class?
 2           A.      I believe we've kept it the same for each
 3   one.
 4           Q.      And how many scenarios do you run through
 5   with each learner?
 6           A.      Each person has to hit, I believe, four
 7   of them, is what we're doing.
 8           Q.      And is that four from a wider group of
 9   potential scenarios?
10           A.      Yes.
11           Q.      How many are in that wider group?
12           A.      How many what?
13           Q.      Scenarios.    Like do you have a list of 20
14   scenarios, and you test them on four of them?
15           A.      No.    We have four scenarios is what I
16   said.        Like we have four scenarios that a person
17   has to do.
18           Q.      So each officer that goes through the CIT
19   training does the same four scenarios; is that
20   correct?
21           A.      Separately, correct.
22           Q.      Do any of those four scenarios involve a
23   person with autism?
24           A.      Yes.
25           Q.      How many of the four involve a person



                     SOUTHERN COURT REPORTERS, INC.
                              (504)488-1112
                                                               105

 1   with autism?
 2           A.      One.
 3           Q.      And is this a -- do you have a written
 4   description of the scenario?
 5           A.      I believe I could find it, yeah.
 6           Q.      Like a what?
 7           A.      I believe I could find it for you, yeah.
 8   I've been doing it so long I don't have to really
 9   read it anymore.
10           Q.      Could you describe that scenario to me?
11   What is it?
12           A.      So it's a person that is in crisis at the
13   time.        They're not given that it is a person with
14   autism.        We put some general aspects of autism into
15   the role player's actions for them to key in that
16   it might potentially be someone with autism, but it
17   also could be potentially someone with
18   developmental disabilities, and they have to be
19   able to judge that in that scenario, but they're
20   given ample time to do so, and it's a nonviolent
21   encounter that we give them.
22           Q.      Does it implicate the need for restraint?
23           A.      No.    It's just somewhat keeping them
24   contained by using distance.
25           Q.      Do any of the four scenarios implicate



                     SOUTHERN COURT REPORTERS, INC.
                              (504)488-1112
                                                            106

 1   the need for restraint?
 2         A.     No.     We don't implement restraint. That's
 3   to deal with violent encounters, and violent
 4   encounters goes into hands-on training with
 5   defensive tactics.
 6         Q.     This is a question I think we've answered
 7   it.   There is no written materials associated with
 8   -- that are handed out -- no handouts, written
 9   materials, or printed slides handed out as part of
10   the Deescalation with Autism training, correct?
11         A.     Correct.
12         Q.     Is there any evaluation or measurement to
13   determine whether this autism training is
14   effective?
15         A.     I'm sorry?
16                MR. ZIBILICH:
17                        I Object to the form.
18   BY MR. MOST:
19         Q.     Sure.     Have you done -- has JPSO done any
20   evaluation to determine whether or not this
21   training is effective?
22         A.     I don't know.
23         Q.     Does a person with autism or a family
24   member or relation of a person with autism
25   participate in the training at all?



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                             107

 1        A.     Yes.
 2        Q.     Who is that?
 3        A.     Ashley is there.
 4        Q.     And Ashley is actually a person with
 5   autism?
 6        A.     No.    She had a child with autism.
 7        Q.     Does Ashley describe her personal
 8   experience being the parent of a person with
 9   autism?
10        A.     Yes, and then we have a field trip that
11   we do where they are able to interact with upwards
12   of 20 plus people with autism and developmental
13   disabilities.
14        Q.     That field trip is part of every CIT
15   training?
16        A.     Yes.
17        Q.     Where is the field trip to?
18        A.     Magnolia Community Services.
19        Q.     What happens on that field trip?
20        A.     We get to speak with, and we have a
21   presentation that's done by the specialists that
22   are over there, one of them being a psychiatrist.
23   I believe he is the director now over it.         We have
24   the assistant activities director.      Or, actually,
25   I'm sorry, the activity director and then the



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                            108

 1   facility director that's there.     They do a
 2   presentation on their best practices of how to
 3   interact with people with developmental
 4   disabilities and autism.     We also get to have a
 5   one-on-one interaction with people there that have
 6   developmental disabilities and autism.
 7        Q.   Does Magnolia use slides for that
 8   presentation?
 9        A.   No.     I believe he just goes up and --
10   well, I shouldn't say I believe.        He just speaks to
11   us about encounters he's had and different things
12   to deal with.
13        Q.   Yeah.     So between a field trip and this
14   training from the coroner's office, this is a
15   significant investment of training time to deal
16   specifically with how to handle persons with
17   autism, agreed?
18             MR. ZIBILICH:
19                     Object to the form.
20             THE WITNESS:
21                     Are you asking how much time?
22   BY MR. MOST:
23        Q.   Well, not really.     So there is two hours
24   of training from the coroner's office and you about
25   persons with autism, right?



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                           109

 1        A.   Yes.
 2        Q.   And then separately a field trip, which
 3   is another, presumably, another couple of hours,
 4   agreed?
 5        A.   Yes.
 6        Q.   And that is a significant chunk of the
 7   total 40- or 48-hour CIT training, agreed?
 8             MR. ZIBILICH:
 9                     Object to the form.
10             THE WITNESS:
11                     I wouldn't say significant chunk.
12                  I'd say it's a portion of the training.
13                  It all goes together.
14   BY MR. MOST:
15        Q.   The reason why there is a portion of the
16   training focused on persons with autism is because
17   that's a prevalent issue in Jefferson Parish like
18   other jurisdictions, agreed?
19             MR. ZIBILICH:
20                     Object to the form.
21             THE WITNESS:
22                     No.   I am going to go with no on
23                  that one.
24   BY MR. MOST:
25        Q.   What part of my statement do you think I



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                               110

 1   got wrong?
 2        A.      Because it's mandated by CIT
 3   International, which I'm a coordinator for.
 4        Q.      So the reason why JPSO does this autism
 5   specific training is because it's mandated to do so
 6   by this national organization?
 7        A.      To do the 40-hour CIT in accordance with
 8   CIT International, they have a certain amount of
 9   things that need to be covered within that, and
10   developmental disabilities is a portion of it, and
11   autism falls under the developmentally.
12        Q.      Okay.     Would you agree that autism is a
13   prevalent issue that officers are likely to
14   encounter in their careers in Jefferson Parish?
15        A.      I think any law enforcement officer has
16   the potential of dealing with someone with autism
17   when one in 54 males are diagnosed.
18        Q.      So it is likely that a given Jefferson
19   Parish sheriff's deputy will interact with the
20   person with autism in their career, agreed?
21                MR. ZIBILICH:
22                        Object to the form.
23                THE WITNESS:
24                        It depends on where they work.
25   BY MR. MOST:



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                                  111

 1        Q.      So it is important for JPSO officers to
 2   be trained in how to handle persons with autism and
 3   the particular risk factors we've discussed today,
 4   because they may interact with those kind of
 5   persons in Jefferson Parish, agreed?
 6        A.      Yes.     That's why we train them.
 7                MR. MOST:
 8                        Let's take a five-minute break.     I
 9                  want to go over my notes and just see.
10                  We may be close to the end here.        For
11                  this section, at least, noting that, of
12                  course, we are reserving our right to
13                  address the full scope of this topic,
14                  but let's just take five.     Go off the
15                  record and reconvene at 11:30 and take
16                  it from there.
17                        {BRIEF RECESS}
18   BY MR. MOST:
19        Q.      Are you ready, Sergeant?
20        A.      Can you hear me?
21        Q.      Yeah.     So a couple of follow-up
22   questions.     Zooming out a little bit about the big
23   picture of CIT itself.        So CIT stands for Crisis
24   Intervention Training?        What does it stand for?
25        A.      It depends on the context.     If you are



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                            112

 1   talking about the class itself, it is Crisis
 2   Intervention Team Training.       If you are talking
 3   about when people refer to it, it is usually Crisis
 4   Intervention Team.
 5        Q.     So the Crisis Intervention Team is --
 6   what is that team?       Is it the body of officers who
 7   have taken this training?
 8        A.     Yes.
 9        Q.     Do they have a specific badge, tools,
10   anything else that designates them as part of that
11   team except having taken the training?
12        A.     You are talking about how do we identify
13   that person on scene?
14        Q.     Sure.
15        A.     So on their pocket, they would have a CIT
16   -- a JPSO specific CIT pin.
17        Q.     Do CIT members carry any specific tools
18   or equipment or anything like that?
19        A.     Knowledge.
20        Q.     In addition to knowledge, do they carry
21   anything with them different than any other
22   officers?
23        A.     No.
24        Q.     And my understanding of the idea behind
25   CIT is that specially trained officers, who have



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                            113

 1   taken CIT training, are best equipped to deal with
 2   persons in crisis or dealing with mental health or
 3   physical or developmental disabilities, agreed?
 4        A.     I would disagree.
 5        Q.     What would you disagree with?
 6        A.     Because the best person to deal with
 7   someone with mental illness, developmental
 8   disabilities, would be a specialist in that field,
 9   not law enforcement.     That's been thrust upon us.
10        Q.     But among JPSO officers, among the group
11   of JPSO officers, the best equipped would be the
12   persons with CIT training, right?
13        A.     No.
14        Q.     Who among JPSO officers would be better
15   equipped than the ones with CIT training?
16        A.     Dr. James Arey.
17        Q.     And so among JPSO, the best person to
18   deal with a person with a developmental disability
19   or another sort of mental health crisis would be
20   Dr. Jim Arey, and the next officers with CIT
21   training?
22        A.     No.   Mobile Crisis Unit.
23        Q.     So Arey then Mobile Crisis Unit then
24   officers with CIT training?
25        A.     I would say more of the people that work



                 SOUTHERN COURT REPORTERS, INC.
                          (504)488-1112
                                                           114

 1   at the hospitals that deal with the crisis unit
 2   would be better trained than us.
 3           Q.   I'm talking about within JPSO.      I
 4   understand --
 5           A.   We should be the last line of resort for
 6   that.
 7           Q.   What is that?
 8           A.   We should be the last line of resort for
 9   that.
10           Q.   But within JPSO, regardless of whether
11   it's right or wrong, the person best equipped for
12   dealing with someone in mental health crisis or
13   with a developmental disability would be Jim Arey,
14   then the Mobile Crisis Unit, then persons with CIT
15   training?
16           A.   The coroner's office.   After the
17   coroner's office then JPSO, because the coroner's
18   office is integrated into it with us.      Yes.
19           Q.   The coroner's office is a distinct
20   entity, right?
21           A.   Yes, but they are integrated with us.
22   That's the whole CIT model.     You quoted CIT model.
23   If we are going to quote CIT model, it is an
24   incorporation of law enforcement, mental health
25   organizations, public health organizations, and



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                            115

 1   public organizations that deal specifically with
 2   people that have mental disabilities, developmental
 3   disabilities, and the veterans organizations.
 4        Q.   Does Dr. Arey go out to the scenes of
 5   field situations?
 6        A.   He has.
 7        Q.   So when there is an issue with someone in
 8   crisis or with a developmental disability, he can
 9   be called to go out to the scene?
10        A.   He can be.
11        Q.   And so officers have the discretion to
12   call for Arey to come to the scene of a situation?
13        A.   It depends on the actual situation, yes.
14        Q.   So depending on the situation, one thing
15   officers can do is they can call and ask that Jim
16   Arey show up, right?
17        A.   Correct.
18        Q.   Another thing that officers can do is
19   call for the -- what did you call it, the Mobile
20   Crisis Unit?
21        A.   Yes.
22        Q.   What is that?
23        A.   I think it's RHD now.     What the acronym
24   for that is I have no clue.   They have changed so
25   many times, because it's about where the money



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                              116

 1   goes.
 2           Q.    Is that a JPSO unit?
 3           A.    No.    They are assigned to Jefferson
 4   Parish.      It's a regional organization.
 5           Q.    So another thing officers can do is they
 6   can call for this Mobile Crisis or RHD Unit,
 7   correct?
 8           A.    Yes.
 9           Q.    And how does an officer do that?    Is
10   there a special code they radio in or something
11   they ask of the dispatcher?
12           A.    It is situational specific.    If it's
13   nonviolent encounters, then you can request those.
14   Or dispatch can actually request it prior to
15   sending out law enforcement.
16           Q.    Right, but my question is, if an officer
17   is calling for the Mobile Crisis Unit or RHD, what
18   do they actually do?        Do they get on the radio and
19   say send the Mobile Crisis Unit?
20           A.    They can request it, yes.
21           Q.    Is there a special code they use for it?
22           A.    No.    Just pretty much how you said it.
23           Q.    Same with Arey.    Is there a special code
24   or they just say, hey, could y'all see if Jim Arey
25   is available?



                   SOUTHERN COURT REPORTERS, INC.
                            (504)488-1112
                                                          117

 1         A.   We'll actually call dispatch instead of
 2   putting his name over the radio.
 3         Q.   So they contact dispatch through some
 4   means other than radio and ask for Jim Arey?
 5         A.   They'll either ask for him or ask for the
 6   Crisis Intervention Unit.
 7         Q.   Does dispatch make a notation of requests
 8   like for Arey or the crisis unit?
 9         A.   I'm sure they do.
10         Q.   Can an officer ask for a CIT member to be
11   dispatched to a scene?
12         A.   I'm sure they can.
13         Q.   And other than the pin on their shirt and
14   their training, CIT members, they don't have
15   special vehicles or anything else other than the
16   knowledge that they've got and their pin, correct?
17         A.   For JPSO, correct.
18         Q.   When a CIT member shows up to the scene,
19   should they do anything specific by virtue of their
20   membership in CIT?   Like do they have special
21   procedures or special things they're supposed to
22   do?
23         A.   No.
24         Q.   Are they supposed to notify other
25   officers that they are a CIT member?



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                          118

 1        A.    It depends on the situation.
 2        Q.    When there is a -- when dispatch has a --
 3   is aware of a mental health situation, are they
 4   supposed to dispatch CIT members preferentially?
 5        A.    Not that I know.
 6        Q.    You've done some of the CIT trainings
 7   over the years, so I'm just going to ask you
 8   whether the officers involved in this case are CIT
 9   members, and you can let me know if you know and
10   let me know if you don't know.     All right?
11        A.    All right.
12        Q.    Is the sheriff himself a CIT member?
13        A.    I don't know.
14        Q.    Chad Pitfield?
15        A.    I don't know.
16        Q.    Ryan Vaught?
17        A.    Are you asking -- you just said are they
18   members?
19        Q.    Well, so there is the CIT -- CIT is
20   Crisis Intervention Team, right?
21        A.    Correct.
22        Q.    And so CIT members are the people who
23   have received CIT training, right?
24        A.    If you using team as in reference to an
25   entity, yes, but as far as JPSO is concerned, it's



                SOUTHERN COURT REPORTERS, INC.
                         (504)488-1112
                                                                   119

 1   whether a person is CIT trained.            It's not a
 2   membership.
 3           Q.      Okay.
 4           A.      So if you are asking me whether they've
 5   had the training, I can answer that.            If they're
 6   part of the CIT team, I don't know either.
 7           Q.      Is there a CIT team apart from just the
 8   people who have had CIT training at JPSO?
 9           A.      There is a Crisis Intervention Unit.
10           Q.      Is that staffed by JPSO personnel?
11           A.      Yes.
12                   MR. ZIBILICH:
13                           Why don't you just ask him who is in
14                     the Crisis Intervention Unit?
15                   MR. MOST:
16                           Yeah.   I'm going to.
17   BY MR. MOST:
18           Q.      Who is in the Crisis Intervention Unit?
19           A.      Lieutenant Gilbert Reith, R-E-I-T-H,
20   Derrick Leggett, L-E-G-G-E-T-T, I believe, and we
21   have -- I can't think of the other two names.
22   Alvin Farris.           I don't know how to spell his last
23   name.        And then we also have one other one.        I
24   can't think of his name at this point.
25           Q.      That's okay.      So there is a four-member



                     SOUTHERN COURT REPORTERS, INC.
                              (504)488-1112
                                                             120

 1   Crisis Intervention Unit?
 2           A.   Correct.
 3           Q.   Do they have a specialized vehicle?
 4           A.   No.   They got JPSO marked units.
 5           Q.   Do they have any special equipment in
 6   those units?
 7           A.   Not that I know of.
 8           Q.   So the Crisis Intervention Unit has the
 9   same restraint equipment that every other officer
10   carries in their vehicles?
11           A.   I don't know.   You'd have to -- I don't
12   know.
13           Q.   And is it set up so one of these -- one
14   or more of these Crisis Intervention Unit officers
15   is always available?
16           A.   I don't know.
17           Q.   So you've got Jim Arey.   You've got the
18   four Crisis Intervention Unit officers, and then
19   you've got the broader pool of people who have
20   received CIT training, right?
21           A.   Yes, we do.
22           Q.   So then I will just ask you if the
23   following officers received CIT training to your
24   knowledge.     Sheriff Lopinto?
25           A.   I don't know.



                  SOUTHERN COURT REPORTERS, INC.
                           (504)488-1112
                                                      121

 1        Q.   Chad Pitfield?
 2        A.   I don't know.
 3        Q.   Ryan Vaught?
 4        A.   I don't know.
 5        Q.   Steven Mehrtens?
 6        A.   Oh, I don't know.
 7        Q.   Shannon Guidry?
 8        A.   I don't know.
 9        Q.   Nick Vega?
10        A.   I don't know.
11        Q.   Manuel Estrada?
12        A.   Don't know.
13        Q.   Myron Gaudet?
14        A.   I believe Myron has, yes.
15        Q.   And if we looked at an officer's training
16   files, would it reflect -- would there be some sort
17   of notation that they had taken CIT training?
18        A.   Yes.
19        Q.   Is there a particular language we should
20   be on the lookout for on that?
21        A.   CIT.
22        Q.   Okay.
23        A.   Or crisis intervention training,
24   depending on if they spelled it out.
25             MR. ZIBILICH:



               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
                                                 122

 1        Or behind Door Number 2 is when
 2     Mr. Clarke can't give you the answer,
 3     just send me a discovery device.
 4   MR. MOST:
 5        Yeah.     Okay.   Chris, would you like
 6     to ask any questions?      You may not, but
 7     I'll give you the option.
 8   MR. KAUL:
 9        I have no questions.
10   MR. MOST:
11        Franz, does anyone, you or anyone
12     else in your room, want to ask any
13     questions?
14   MR. ZIBILICH:
15        No thank you.
16   MR. MOST:
17        Okay.     So we can close this topic
18     although with the reservation that we
19     are going to challenge the fact that
20     the witness was not prepared about all
21     aspects of this topic.
22        Do you want to talk about that now,
23     Franz?     We can let the witness go, and
24     then we could just talk about it right
25     now while we're on the record, and then



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                                    123

 1     proceed with the next witness when he
 2     is available.
 3   MR. ZIBILICH:
 4        We got a call in the next witness.
 5     All right.     So it's just not my idea of
 6     what a corporate deposition is.        The
 7     only people that would have known the
 8     answers to that query were the
 9     participants, and I figured you could
10     ask the participants those questions at
11     a fact deposition.
12   MR. MOST:
13        Yeah.     I understand that take.
14   MR. ZIBILICH:
15        You can't force me to find somebody
16     with knowledge when maybe I don't have
17     anybody with knowledge.     Maybe I didn't
18     want to educate people and have them
19     knowledgeable.     And, again, the best
20     people to ask about what went on would
21     have been the people that were present
22     at the scene.
23   MR. MOST:
24        I understand that's your take,
25     Franz, however, the Americans with



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                                    124

 1     Disabilities and Rehabilitation Act
 2     claims are claims against the entity
 3     themselves.     They are not claims
 4     against any individual officer.       They
 5     can't be.     Under the ADA, it's only the
 6     entity itself that is a defendant.
 7   MR. ZIBILICH:
 8        Who do you think the entity is?
 9   MR. MOST:
10        Sheriff Lopinto in his official
11     capacity is subject to the ADA.       I
12     refer to it colloquially, as I think
13     probably you do as well, JPSO.
14   MR. ZIBILICH:
15        JPSO, as well you know, and I have
16     no --
17   MR. MOST:
18        I am aware of that, Franz, but,
19     also, I know you and other people use
20     the words "JPSO" because that is how
21     people commonly refer to it.     I very
22     rarely hear people say Sheriff Lopinto
23     in his official capacity.     But, look,
24     we're on the same page about what
25     official entity is.



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                                 125

 1   MR. ZIBILICH:
 2        I have no problem with you deposing
 3     Sheriff Lopinto relative to this stuff.
 4   MR. MOST:
 5        Well, the 30(b)(6) notice is for a
 6     person knowledgeable to speak on behalf
 7     of the entity, the legal entity, which
 8     is Sheriff Lopinto in his official
 9     capacity, about issues like
10     accommodations provided to EP, any
11     modifications deputies made to the
12     procedures and protocols, and the
13     answer may be there were not.
14   MR. ZIBILICH:
15        But he wasn't on the scene.
16   MR. MOST:
17        Okay.     Look, I think we have
18     conferred about this.     We have --
19   MR. ZIBILICH:
20        He can't answer those questions.
21   MR. MOST:
22        What's that?
23   MR. ZIBILICH:
24        I said he can't answer those
25     questions.     He was not on the scene.



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                               126

 1   MR. MOST:
 2        Well, the entity can provide someone
 3     knowledgeable and educate them as
 4     30(b)6 requires, and if he can't do
 5     that, then put someone up that says we
 6     don't have any knowledge about this. We
 7     can't find any knowledge about it.     If
 8     that's the answer, that will be the
 9     answer, but we'll have to designate
10     someone and ask them the questions.
11        If you'd like to confer and get back
12     to us by tomorrow about whether you are
13     willing to provide someone to answer
14     these questions, that's fine,
15     otherwise, I do think it's appropriate
16     for a Motion to Compel, unless there is
17     a reason not to.
18   MR. ZIBILICH:
19        Let me think about it.   I can't
20     promise you tomorrow, but I can promise
21     you the end of the week.
22   MR. MOST:
23        Okay.   That's fine.
24   MR. ZIBILICH:
25        So I'm going to do something exactly



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                               127

 1     the opposite with the next one.
 2   MR. MOST:
 3        Okay.    What are you going to do?
 4   MR. ZIBILICH:
 5        Although I do not believe that the
 6     next one falls squarely under 30(b)(6),
 7     I'm going to have somebody here anyway.
 8   MR. MOST:
 9        Okay.    That's fine.
10   MR. ZIBILICH:
11        And I think I can get us started by
12     a quarter to one. I need a few minutes
13     with him.
14        [End of deposition, 11:46]
15
16
17
18
19
20
21
22
23
24
25



     SOUTHERN COURT REPORTERS, INC.
              (504)488-1112
                                                      128

 1                  C E R T I F I C A T E
 2
 3                  This certification is valid only for
     a transcript accompanied by my original signature
 4   and original required seal on this page.
 5                  I, SANDRA P. DIFEBBO, Certified
     Court Reporter, in and for the State of Louisiana,
 6   as the officer before whom this testimony was
     taken, do hereby certify that SERGEANT MICHAEL
 7   VOLTOLINA, JR., after having been duly sworn by me
     upon authority of R.S. 37:2554, did testify as
 8   hereinbefore set forth in the foregoing 127 pages;
 9                  That the testimony was reported by
     me in stenotype, was prepared and transcribed by me
10   or under my personal direction and supervision, and
     is a true and correct transcript to the best of my
11   ability and understanding;
12                  That the transcript has been
     prepared in compliance with transcript format
13   guidelines required by statute or by rules of the
     board, that I have acted in compliance with the
14   prohibition on contractual relationships as defined
     by Louisiana Code of Civil Procedure Article 1434
15   and in rules and advisory opinions of the board;
16                  That I am not related to Counsel or
     to the parties herein, nor am I otherwise
17   interested in the outcome of this matter.
18
19
20
21   ___________________________
     Sandra P. DiFebbo,
22   Certified Shorthand Reporter
23   Date: _________
24
25


               SOUTHERN COURT REPORTERS, INC.
                        (504)488-1112
